
USCA1 Opinion

	










          June 24, 1996     United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________

          No. 95-1689

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                  F. WILLIAM SAWYER,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Nathaniel M. Gorton, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________
                            Aldrich, Senior Circuit Judge,
                                     ____________________
                              and Stahl, Circuit Judge.
                                         _____________

                                 ____________________

                                     ERRATA SHEET
                                     ERRATA SHEET

               The opinion of this Court issued on May 30, 1996, is amended
          as follows:  

                    Page 35, line 4 - change "is" to "in"
































                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________

        No. 95-1689

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                  F. WILLIAM SAWYER,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Nathaniel M. Gorton, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________
                            Aldrich, Senior Circuit Judge,
                                     ____________________
                              and Stahl, Circuit Judge.
                                         _____________

                                 ____________________

            Thomas  R.  Kiley,  with  whom  Carl  Valvo,  Steven H.  Goldberg,
            _________________               ___________   ___________________
        Matthew  L. Schemmel, and Cosgrove,  Eisenberg &amp; Kiley,  P.C., were on
        ____________________      ___________________________________
        brief for appellant.
            Timothy W. Jenkins, Gary C. Adler,  and O'Connor &amp; Hannan, L.L.P.,
            __________________  _____________       _________________________
        were on brief for State Government Affairs Council, amicus curiae.
            Ralph D. Gants,  Susan Murphy, and Palmer  &amp; Dodge, were on  brief
            ______________   ____________      _______________
        for The  Massachusetts Association  of Professional  Lobbyists, amicus
        curiae.
            Michael  Kendall,  Assistant United  States  Attorney,  with  whom
            ________________
        Jonathan  Chiel,  Acting  United  States Attorney,  and  Amy  Lederer,
        _______________                                          ____________
        Assistant United States Attorney, were on brief for appellee.

                                _____________________
                                     May 30, 1996
                                _____________________


















                      STAHL, Circuit Judge.  Appellant F. William  Sawyer
                      STAHL, Circuit Judge.
                             _____________

            appeals his  convictions for mail and  wire fraud, interstate

            travel  to commit  bribery,  and conspiracy  to commit  those

            offenses.   The  district court imposed  a $10,000  fine, and

            sentenced him to imprisonment for  twelve months and one day.

            In  this appeal, Sawyer claims that  the district court erred

            in its jury instructions and in evidentiary rulings, and that

            the evidence was insufficient to establish his guilt beyond a

            reasonable doubt.  For the reasons that follow, we vacate the

            convictions and remand for further proceedings.

                                          I.
                                          I.
                                          __

                                        Facts
                                        Facts
                                        _____

                      Viewing the  record in the light  most favorable to

            the verdict, United States  v. Wihbey, 75 F.3d 761,  764 (1st
                         _____________     ______

            Cir. 1996),  a rational jury  could have found  the following

            facts from the trial evidence.

                      During the  indictment period, 1986  to March 1993,

            the  John Hancock  Mutual Life Insurance  Company ("Hancock")

            employed  the defendant-appellant,  F. William  Sawyer,  as a

            senior  lobbyist within its  Government Relations Department.

            As  the  largest  life insurance  company  in  Massachusetts,

            Hancock had a continuing and abiding interest in the  state's

            insurance laws.  Sawyer's job  was to lobby the Massachusetts

            Legislature  on Hancock's  behalf.   In  particular, his  job

            description required him  to: research and  develop Hancock's



                                         -2-
                                          2















            position  on  pertinent  legislation;   communicate  relevant

            information  to representative government  officials in order

            to effect  a favorable outcome  and to protect  the Company's

            interests;  and establish  and  maintain  relationships  with

            legislators as well as with members of industry associations.

                      A principal  focus of Sawyer's  lobbying activities

            was the Legislature's  Joint Insurance Committee  ("Insurance

            Committee"), composed of state representatives  and senators.

            The  Insurance  Committee  has  the ability  to  impact  life

            insurance  regulations  more   than  any  other   legislative

            committee.  To  this end, it reviews approximately  300 bills

            per  year, about  fifty of  which affect  the life  insurance

            industry.    During  each  year  of  the  indictment  period,

            Massachusetts  life insurance  companies actively  sought the

            passage   of  about  five  bills,  most   of  which  made  it

            successfully through the Insurance Committee "in some form or

            another."  Robert J. Smith,  a research analyst and  director

            for  the  Committee, testified  that,  during the  indictment

            period, Sawyer was one  of three lobbyists who  appeared most

            often to  lobby  for  bills  sought  by  the  life  insurance

            industry.

                      The Insurance Committee  is co-chaired by a  senate

            and  house member, each with  equal control over  the fate of

            bills assigned to the Committee.  The Chairs have the ability

            to schedule  hearings, assign  bills to the  hearing calendar



                                         -3-
                                          3















            and   subsequent  executive   sessions,  advocate   bills  at

            executive  sessions, and  take other  action to  advance them

            through  the Committee.   Each  Chair could  "carry" a  bill,

            i.e., actively  guide it through the Legislature  as a whole;
            ____

            alternatively, a Chair could send it to the "Study Committee"

            which usually shelved it.

                      During  the indictment  period, Sawyer  focused his

            lobbying  activities on  the house  members of  the Insurance

            Committee,  some  of  whom   took  action  that  directly  or

            indirectly  affected  Hancock's  interests.    Representative

            Francis  H. Woodward  was the  House  Chair of  the Insurance

            Committee  from  1986  to   1990.    Research  analyst  Smith

            identified Sawyer  as the  lobbyist  he saw  most often  with

            Representative  Woodward  during  Woodward's  tenure  as  the

            Committee's  House Chair.   During  this time,  the Insurance

            Committee  never rejected Woodward's recommendations on bills

            affecting the life insurance industry and Woodward  "carried"

            most  of the  bills sought  by the industry.   Representative

            Frank  Emilio,  a  member  from  1986 to  1990,  sponsored  a

            September  1990 bill  on behalf  of Hancock.   Representative

            John  F.  Cox  sponsored  bills  that  Hancock  supported  in

            November   1990   and   December   1991.       In   addition,

            Representatives   Walsh,   Mara,   and   Driscoll   sponsored

            legislation sought by the life insurance industry.





                                         -4-
                                          4















                      "Legislative   Reports"   issued  by   the  Hancock

            Government  Relations Department to  senior Hancock officers,

            and signed by Sawyer,  outlined specific lobbying efforts and

            proceedings  in  the Massachusetts  Legislature  pertinent to

            Hancock's interests.  In July 1990, Sawyer wrote a memorandum

            to Hancock's Management  Committee summarizing the successful

            efforts of Hancock lobbyists, including himself, in excluding

            Hancock  from a bill that would have  subjected it to a $100-

            million tax liability.  In a September 1990 memorandum to the

            Management Committee,  Sawyer referred to a  1990 bill, filed

            by Representative Emilio, that  allowed Hancock to assess and

            report  its  real estate  advantageously.    A November  1990

            letter from  Ralph F. Scott, Hancock's  Assistant Legislative

            Counsel,  to Representative  Cox  indicated  that Sawyer  and

            Scott planned to work with Cox in obtaining  favorable action

            on a specific bill that he had sponsored for Hancock.

                      During  the  indictment  period,  Sawyer  paid  for

            numerous meals,  rounds of golf, and  other entertainment for

            and with Massachusetts legislators, including many members of

            the Insurance Committee.   Although Sawyer initially paid for

            most  of  these  activities  himself, they  were  treated  as

            business  expenses and  reimbursed  by  Hancock  (hereinafter

            "expenditures").   In  accordance with  Hancock's procedures,

            Sawyer  would complete  monthly  expense vouchers,  attaching

            receipts and  a  handwritten  calendar  that  identified  the



                                         -5-
                                          5















            recipients of the expenses.   Sawyer's supervisor, Raeburn B.

            Hathaway,   the  head   of  Hancock's   Government  Relations

            Department, reviewed  Sawyer's expense vouchers  and approved

            them  for  reimbursement.   Hathaway's  secretary would  then

            detach the detailed calendars  from the vouchers, keeping the

            calendars  within the  Government  Relations Department,  and

            forward the voucher, alone,  to the accounting department for

            payment.

                      Analysis of Sawyer's expense vouchers and calendars

            during  the indictment  period  revealed that  the top  three

            recipients of his expenditures were: Representative Woodward,

            who received  more than  $8,000 worth of  expenditures during

            his  tenure  as  Insurance   Committee  House  Chair;  Robert

            Howarth,  an Insurance  Committee  member from  1986 to  1992

            (over  $3,000);  and  Representative  Emilio  (over  $2,500).

            After these three legislators  left office, Sawyer, on behalf

            of Hancock, expended practically nothing on entertaining them

            (Woodward, $0; Howarth, $8.33; and Emilio, $85.65).

                      Specifically,   Sawyer's   expenditures    included

            thousands of  dollars for golf -- in and out of state -- with

            various  Massachusetts  legislators including  Representative

            Francis   Mara,  Woodward's   1991  successor   as  Insurance

            Committee  House  Chair.    Sawyer also  hosted  dinners  for

            legislators and  their families.   In September  1992, Sawyer

            provided Representative Mara  and his wife tickets for a show



                                         -6-
                                          6















            in  Hancock's private box at  the Wang Center  and ordered an

            accompanying dinner.

                      The apparent  catalyst for this  prosecution was  a

            December  1992  trip  to  Puerto  Rico  where  Sawyer,  other

            lobbyists,   and   a   group   of    legislators,   including

            Representative Mara, travelled  for a legislative conference.

            The  group did not stay  at the conference  site, but instead

            went to a different  resort where Sawyer paid for many of the

            legislators'  meals,  transportation,   and  golf.    Hancock

            reimbursed Sawyer  for some $4,000  of entertainment expenses

            from the Puerto Rican trip.1

                      Both  Sawyer  and  his  supervisor,  Hathaway,  had

            reason  to  believe  that  these expenditures  could  or  did

            violate  certain state  laws.   In  his  office, Sawyer  kept

            internal Hancock memoranda,  newspaper articles, and opinions

            of the  Massachusetts  Ethics Commission,  all explaining  or

            reporting on Massachusetts ethics-in-lobbying.  While some of

            the   documents  varied   in   their  interpretations,   they




                                
            ____________________

            1.  In   1986,   Sawyer   and   his   wife   travelled   with
            Representative Woodward and  his wife to New  Orleans for the
            Super Bowl.  Hancock provided the game tickets and reimbursed
            Sawyer for the  airfare.  The  district court instructed  the
            jury that, because this  trip occurred before the mail  fraud
            statute  proscribed  honest  services  fraud,  it  could  not
            provide  the sole  basis for  a mail  fraud conviction.   The
            court  added, however, that the jury  could consider the trip
            as evidence of  Sawyer's state  of mind with  respect to  the
            alleged scheme to defraud.

                                         -7-
                                          7















            nonetheless  advised  on   compliance  with  laws   regarding

            gratuities, gifts, and lobbying expenditures.

                      In  April 1993,  a reporter  from the  Boston Globe

            newspaper queried Richard  Bevilacqua, Hancock's Director  of

            Employee   and   Customer   Communications,  about   Sawyer's

            entertainment of legislators during the 1992 Puerto Rico trip

            and about  Hancock's legislative  agenda during  that period.

            Bevilacqua, in turn, asked Sawyer about the  trip, and Sawyer

            opined, "it's difficult to take anyone out to lunch or dinner

            these  days without  going  over [the]  amount [permitted  by

            law]."    This set  of events  prompted  Hancock to  begin an

            internal    investigation     into    Sawyer's    legislative

            expenditures.2   Bruce A.  Skrine, vice  president, corporate

            counsel  and  secretary for  Hancock,  asked  Sawyer for  his

            expense records.  Contemporaneous with Sawyer's production of

            the  records,  Sawyer  told  Skrine that  the  expenses  were

            "consistent with the  way . .  . things  were done on  Beacon

            Hill."   Sawyer also told  Skrine that his  reason for making

            the  expenditures was "to get to know" the legislators and to

            develop "a  certain relationship  so that you  could turn  to


                                
            ____________________

            2.  In  the  Spring of  1993,  the  United States  Attorney's
            Office for the  District of Massachusetts  ("USAO") commenced
            an investigation into Hancock's involvement  in the allegedly
            illegal expenditures on legislators.   In March 1994, Hancock
            entered into a civil settlement with the USAO whereby it paid
            a fine of about $1,000,000 and promised to cooperate with the
            USAO.   In return, the  USAO agreed not  to prosecute Hancock
            for any matter relating to the investigation.

                                         -8-
                                          8















            them"; he  further indicated that he  made these expenditures

            to  "build  and  maintain  relationships,"  gain  "access  to

            legislators," and get  legislators to "return his  calls as a

            result of [the expenditures]."

                      Sawyer caused  the mailing of items  related to the

            expenditures   on   legislators,   including    golf   bills,

            reimbursement requests,  and credit card bills.   Sawyer also

            caused the  making of  interstate telephone calls  to arrange

            for some of the entertainment.

                      Following  a nine-day  trial,  the  jury  convicted

            Sawyer of fifteen counts  of mail fraud, nine counts  of wire

            fraud, eight  counts of interstate travel  to commit bribery,

            and  one count of conspiracy.   The jury  acquitted Sawyer of

            two additional mail fraud counts.

                                         II.
                                         II.
                                         ___

                              Mail and Wire Fraud Counts
                              Mail and Wire Fraud Counts
                              __________________________

                      The   government  charged   that  Sawyer   and  his

            unindicted co-conspirator -- his Hancock supervisor, Hathaway

            --  engaged  in  a  scheme  to deprive  the  Commonwealth  of

            Massachusetts and  its citizens  of the right  to the  honest

            services of their state legislators,3  and used the mails and

                                
            ____________________

            3.  According to  the indictment,  the  legislators' duty  of
            honest services included the obligation to perform their jobs
            as  Massachusetts   lawmakers   free  from   deceit,   fraud,
            dishonesty,  favoritism and self-enrichment.   By  consent of
            the parties, the district  court struck the word "favoritism"
            in this description.   United States v. Sawyer, 878  F. Supp.
                                   _____________    ______
            279, 294 (D. Mass. 1995).   In addition to this general  duty

                                         -9-
                                          9















            interstate telephone  wires in furtherance of  the scheme, in

            violation of 18 U.S.C.    1341, and 1343.4

                      Sawyer contends that his  convictions impermissibly

            involve the  federal government in setting  standards of good

            government for  local and  state officials.   He  argues that

            this  case  is  exemplary  of the  "dangers  of  standardless

            federal  criminal  enforcement  and  unbridled  prosecutorial

            discretion long-recognized under the mail fraud statute."  We

            have  already   considered  and  rejected   these  arguments,


                                
            ____________________

            of   honest  services,   the   indictment  stated   that  the
            legislators had a specific duty to abide by the Massachusetts
            laws set forth  in the indictment.  The indictment identified
            both the  Commonwealth of Massachusetts and  its citizenry as
            the  fraud victims; for simplicity, we will refer only to the
            public (or "citizenry") as the victim.
                      With  regard   to  the   scheme  to   defraud,  the
            indictment  charged,  inter  alia,  that  Sawyer  gave,   and
                                  _____  ____
            legislators accepted, travel, lodging,  golf, meals and other
            entertainment  in violation of Massachusetts law; that Sawyer
            monitored   the   public   coverage   of   the  Massachusetts
            Legislature so that  he could ensure the nondisclosure of his
            gratuities;  that  Sawyer was  given  greater  access to  the
            Insurance Committee  and its  House Chair than  was available
            generally  to  the citizenry;  that  the House  Chair  of the
            Insurance  Committee  repeatedly   performed  official   acts
            advocated by Sawyer  on behalf of Hancock;  and that Sawyer's
            direct  supervisor  approved  of,  and  authorized  Hancock's
            reimbursement of Sawyer for, his illegal gratuities.

            4.  In relevant part, 18 U.S.C.    1341 and 1343 provide:

                      Whoever, having devised  or intending  to
                      devise any scheme or artifice to defraud,
                      or  for obtaining  money  or property  by
                      means of false  or fraudulent  pretenses,
                      representations,  or promises . . . [uses
                      the mails or wires,  or causes their use]
                      for the purpose of executing  such scheme
                      or artifice  . . . [shall be punished].

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                                          10















            however.   See United States v. Silvano, 812 F.2d 754, 758-59
                       ___ _____________    _______

            (1st Cir. 1987).   Congress may protect the integrity  of the

            interstate  mails  and  wires  by  forbidding  their  use  in

            furtherance of  schemes to defraud a state  and its citizens,

            whether or not it can  forbid the scheme itself.  See  id. at
                                                              ___  ___

            758  (citing Badders  v.  United States,  240  U.S. 391,  393
                         _______      _____________

            (1916)); United  States v.  Rendini, 738  F.2d 530, 533  (1st
                     ______________     _______

            Cir. 1984).5

                      Sawyer also contends that the government has failed

            to  establish that  he committed  "honest services"  mail and

            wire fraud  ("honest services  fraud") within the  meaning of

            the  statutes.  To explain  our resolution of  this issue, we

            provide a brief overview of the law of honest services fraud.

            The ultimate issue  is whether or not  the "scheme" presented

            at trial actually targeted the Massachusetts' citizens' right




                                
            ____________________

            5.  Some have  observed that these  statutes are increasingly
            used effectively  to convict  and punish for  the substantive
            fraud,  and that the  use of the  mails or wires  is merely a
            "jurisdictional  hook"  to  bring  the   conduct  within  the
            proscription  of the mail and wire fraud statutes.  See Peter
                                                                ___
            J. Henning, Maybe It Should Just Be Called Federal Fraud: The
                        _________________________________________________
            Changing  Nature of the Mail  Fraud Statute, 36  B.C. L. Rev.
            ___________________________________________
            435  (1995); cf. Schmuck v. United States, 489 U.S. 705, 722-
                         ___ _______    _____________
            23  (1989)   (Scalia,   J.  dissenting)   (disagreeing   with
            majority's   conclusion   that  certain   mailings   were  in
            furtherance of the  demonstrated scheme,  and observing  that
            "[t]he  law  does  not  establish a  general  federal  remedy
            against  fraudulent conduct, with the use of the mails as the
            jurisdictional hook . . . . In other words, it is mail fraud,
            not  mail  and  fraud,  that  incurs  liability."   (internal
            citations, quotations and alterations omitted)).

                                         -11-
                                          11















            to "honest services"  within the  meaning of  the mail  fraud

            statute.

                      To prove  mail and wire fraud,  the government must

            prove, beyond a reasonable doubt: (1) the defendant's knowing

            and willing participation in a  scheme or artifice to defraud

            with the specific intent  to defraud, and (2) the use  of the

            mails or interstate wire communications in furtherance of the

            scheme.6  United States  v. Montminy, 936 F.2d 626,  627 (1st
                      _____________     ________

            Cir. 1991)  (listing mail  fraud elements); United  States v.
                                                        ______________

            Cassiere, 4 F.3d  1006, 1011  (1st Cir.  1993) (listing  wire
            ________

            fraud elements).   Because the relevant language in  both the

            mail and wire  fraud statutes  is the same,  we analyze  both

            offenses together  for the  purposes  of this  case and,  for

            simplicity, we refer only  to mail fraud.  See  United States
                                                       ___  _____________

            v. Boots, 80 F.3d 580, 586 n.11 (1st Cir. 1996).
               _____

                      Traditionally,  the  mail  fraud   statute  reached

            schemes  that deprived the  fraud victim of  property or some

            other item of economic  value.  See generally, United  States
                                            ___ _________  ______________

            v.  Grandmaison, 77 F.3d 555,  565-66 (1st Cir.  1996).  Some
                ___________

            courts  later expanded the scope of the statutes to encompass

            schemes  intended to  defraud citizens  of their  intangible,

                                
            ____________________

            6.  The use of the  mails or wires to further  the fraudulent
            scheme  need   only  be  "incidental."     United  States  v.
                                                       ______________
            Grandmaison, 77 F.3d 555, 566 (1st Cir. 1996).  Moreover, the
            ___________
            "[d]efendant[] need  not personally use the  [mails or] wires
            as long as such use was a reasonably foreseeable part  of the
            scheme  in which [he] participated."  United States v. Boots,
                                                  _____________    _____
            80 F.3d 580, 585 n.8 (1st Cir. 1996).

                                         -12-
                                          12















            non-property  right to  the honest  services of  their public

            officials.    See generally,  W.  Robert  Gray, Comment,  The
                          ___ _________                               ___

            Intangible-Rights    Doctrine     and    Political-Corruption
            _____________________________________________________________

            Prosecutions Under the Federal Mail Fraud Statute, 47 U. Chi.
            __________________________________________________

            L.  Rev.  562, 563  (1980) and  cases  cited therein.   Those

            courts rationalized that a  public official "acts as `trustee

            for the citizens and the State . . . and thus owes the normal

            fiduciary duties of a trustee, e.g., honesty  and loyalty' to
                                           ____

            them."   Silvano, 812 F.2d  at 759 (quoting  United States v.
                     _______                             _____________

            Mandel,  591 F.2d  1347,  1363 (4th Cir.),  aff'd in relevant
            ______                                      _________________

            part  en banc,  602  F.2d 653,  653  (4th Cir.  1979),  cert.
            _____________                                           _____

            denied, 445 U.S. 961 (1980)).
            ______

                      In  1987, the  United  States  Supreme Court  held,

            contrary to every  circuit court that had  decided the issue,

            that  the mail  fraud  statute did  not  prohibit schemes  to

            defraud  citizens of their  intangible, non-property right to

            honest and  impartial government.  McNally  v. United States,
                                               _______     _____________

            483 U.S. 350, 359 (1987); see United States v. Ochs, 842 F.2d
                                      ___ _____________    ____

            515,  521   (1st  Cir.   1988)  (noting  Court's   unexpected

            decision),  cert.  denied, 498  U.S.  895  (1990).   Congress
                        _____  ______

            quickly reacted to the McNally decision by enacting 18 U.S.C.
                                   _______

              1346, which provides that, for the purposes of, inter alia,
                                                              _____ ____

            the  mail  and wire  fraud  statutes,  "the term  `scheme  or

            artifice to defraud' includes a scheme or artifice to deprive

            another of the intangible right of honest services."  We have



                                         -13-
                                          13















            recognized that    1346 was intended to  overturn McNally and
                                                              _______

            reinstate the reasoning of  pre-McNally case law holding that
                                            _______

            the mail fraud statute reached schemes to defraud individuals

            of  the intangible  right  to honest  services of  government

            officials.  See Grandmaison, 77 F.3d at 565-66.7
                        ___ ___________

                      The  concept of  governmental "honest  services" in

            this context  eludes easy  definition.   As Judge Winter  has

            aptly noted:

                      One searches in vain for even the vaguest
                      contours of the legal obligations created
                      beyond   the    obligation   to   conduct
                      governmental   affairs    "honestly"   or
                      "impartially,"  to  ensure one's  "honest
                      and faithful participation" in government
                      and to obey  "accepted standards of moral
                      uprightness,  fundamental  honesty,  fair
                      play and right dealing" . . . . (citation
                      omitted) [T]he quest for  legal standards
                      is not  furthered  by reference  to  "the
                      right  to good  government" and  the duty
                      "to act in a disinterested manner."



                                
            ____________________

            7.  See also 134 Cong. Rec.  H11108-01, 1988 WL 182261  (Oct.
                ___ ____
            21,  1988) (statement  of Rep.  Conyers) ("This  amendment is
            intended merely to overturn  the McNally decision.  No  other
                                             _______
            change in the  law is intended."); 134  Cong. Rec. S17360-02,
            1988 WL 182529 (Nov. 10, 1988), Section Analysis of Judiciary
            Committee  Issues in  H.R.  5210, (Statement  of Sen.  Biden)
            ("[Section  1346] overturns the decision  in McNally .  . . .
                                                         _______
            The  intent is to reinstate  all of the  pre-McNally case law
                                                         _______
            pertaining  to  the  mail  and wire  fraud  statutes  without
            change").   But see United  States v. Brumley,  79 F.3d 1430,
                        ___ ___ ______________    _______
            1440 (5th Cir.  1996) (holding that    1346 does not  clearly
            reach  schemes   to  defraud  citizens  of   their  right  to
            government officials' honest services).
                        Given  the  peculiar  history  and  evolution  of
            honest-services mail  fraud, we  review case law  from before
            and after the McNally decision for guidance in discerning the
                          _______
            parameters of this federal crime.

                                         -14-
                                          14















            United States v.  Margiotta, 688 F.2d  108, 142-143 (2d  Cir.
            _____________     _________

            1982) (Winter, J., concurring in part and dissenting in part)

            (quoting Mandel,  591 F.2d at  1361), cert. denied,  461 U.S.
                     ______                       _____ ______

            913 (1983).

                      The cases  in which a deprivation  of an official's

            honest services is found  typically involve either bribery of

            the  official  or her  failure  to  disclose  a  conflict  of

            interest, resulting  in  personal gain.   In  a leading  case

            involving  the bribery  of  a state  governor on  legislative

            matters,  the  Fourth Circuit  explained  how  bribery of  an

            official can constitute honest services fraud:

                      [T]he fraud  involved in the bribery of a
                      public official lies in the fact that the
                      public  official  is  not exercising  his
                      independent   judgment   in  passing   on
                      official  matters. .  . .  When a  public
                      official has been bribed, he breaches his
                      duty    of     honest,    faithful    and
                      disinterested  service.  .   .  .   [T]he
                      official has been paid for his decisions,
                      perhaps  without   even  considering  the
                      merits of  the matter.   Thus, the public
                      is not  receiving what it expects  and is
                      entitled to, the public official's honest
                      and faithful service.

            Mandel, 591 F.2d at 1362; see  also, Boots, 80 F.3d at 592-94
            ______                    ___  ____  _____

            (involving scheme  to bribe Native-American  police chief  in

            exercise  of  his border  patrol  duties);  United States  v.
                                                        _____________

            Holzer,  816 F.2d  304,  308 (7th  Cir.) (judge's  systematic
            ______

            receipt of bribes and "loans" to influence official actions),

            vacated,  484 U.S.  807 (1987)  (ordering reconsideration  in
            _______

            light of  McNally); United States  v. Isaacs, 493  F.2d 1124,
                      _______   _____________     ______


                                         -15-
                                          15















            1149-51 (7th Cir.) (public officials received bribes intended

            to  induce  special  favors  and  preferential treatment  for

            certain racing interests), cert. denied, 417 U.S. 976 (1974).
                                       _____ ______

                      A  public  official  has  an  affirmative  duty  to

            disclose material  information to  the public employer.   See
                                                                      ___

            Silvano 812 F.2d at 759.  When  an official fails to disclose
            _______

            a  personal interest in a matter over which she has decision-

            making power, the public  is deprived of its right  either to

            disinterested decision  making itself or, as the case may be,

            to full disclosure as  to the official's potential motivation

            behind an  official act.   See id.  (upholding conviction  of
                                       ___ ___

            city fiduciary  who failed  to disclose material  information

            about  unnecessary   spending  of   city  money   for  secret

            enrichment of fiduciary's friend).  Thus, undisclosed, biased

            decision making  for personal  gain, whether or  not tangible

            loss to  the public  is shown,  constitutes a deprivation  of

            honest services.  See e.g., Grandmaison, 77 F.3d at 567 (city
                              ___ ____  ___________

            board member  took secret action to influence award of public

            contract   to    official's   private   construction-business

            interest);  United States v.  Waymer, 55 F.3d  564 (11th Cir.
                        _____________     ______

            1995) (board of education  member received secret commissions

            from companies contracting with school system), cert. denied,
                                                            _____ ______

            No. 95-887, 64 U.S.L.W. 3653, 3656 (U.S. May 20, 1996).

                      The broad scope of the mail fraud statute, however,

            does not encompass every instance of official misconduct that



                                         -16-
                                          16















            results in the  official's personal  gain.   For example,  in

            United States  v.  McNeive, 536  F.2d  1245, 1246  (8th  Cir.
            _____________      _______

            1976),   a  city   plumbing  inspector   repeatedly  accepted

            unsolicited   gratuities  in   connection   with   his   non-

            discretionary, administrative duty to issue plumbing permits.

            Although McNeive  may have violated a  city ordinance banning

            the  acceptance of  gratuities by  city officials,  the court

            found  his conduct beyond the reach of the mail fraud statute

            because  there   was   no  evidence   that   the   gratuities

            disadvantaged the city in  any respect or that  they deterred

            McNeive from otherwise conscientiously performing his duties.

            Id. at  1251.  In  short, the "scheme"  was shown  to neither
            ___

            involve nor  contemplate the deprivation of  McNeive's honest

            services to the city or public.

                      Likewise,  in  United States  v. Rabbitt,  583 F.2d
                                     _____________     _______

            1014,  1026  (8th Cir.  1978),  cert. denied,  439  U.S. 1116
                                            _____ ______

            (1979),   the  Eighth   Circuit   reversed  the   mail  fraud

            convictions of Rabbitt, a  state representative.  Rabbitt had

            offered to introduce a friend's architectural firm to certain

            public officials responsible for awarding state architectural

            contracts, in return for a ten percent commission on any work

            awarded.    Id. at  1020.   The  government charged  that his
                        ___

            receipt  of the resulting,  undisclosed commissions defrauded

            the citizens of Rabbitt's honest services.  Id. at 1025.  The
                                                        ___

            evidence showed, however, that  the officials who awarded the



                                         -17-
                                          17















            architectural  contracts did  so on  merit alone  and Rabbitt

            played no  role in the selection  of the firm.   Id. at 1026.
                                                             ___

            Because  Rabbitt   did  not  control  the   awarding  of  the

            contracts, or otherwise fail  to fulfill his official duties,

            his  conduct  did not  deprive  the  citizens of  his  honest

            services.   Id.  (noting case's  resemblance to  McNeive, 536
                        ___                                  _______

            F.2d  at  1251-52).     The  court  also  observed  that  the

            government failed to  cite any applicable standard  requiring

            Rabbit to disclose his  interest in the contracts, and  thus,

            the  citizens  were  not  deprived  of   any  right  to  such

            disclosure.  Id. at 1026.
                         ___

                      The  McNeive  and  Rabbitt  cases  illustrate  that
                           _______       _______

            although  a public  official  might  engage in  reprehensible

            misconduct related to an official position, the conviction of

            that official for  honest-services fraud  cannot stand  where

            the conduct does not actually deprive the public of its right

            to her honest  services, and it is  not shown to intend  that

            result.   Similarly,  if a non-public-official  is prosecuted

            for scheming to  defraud the public  of an official's  honest

            services,  the government must  prove that the  target of the

            scheme is the deprivation  of the official's honest services.

            If the  "scheme" does not, as its  necessary outcome, deprive

            the public  of honest services, then  independent evidence of

            the  intent to  deprive  another of  those  services must  be

            presented.  See United States v. D'Amato, 39 F.3d, 1249, 1257
                        ___ _____________    _______



                                         -18-
                                          18















            (2d  Cir. 1994) ("Where the  scheme does not  cause injury to

            the alleged  victim as  its necessary result,  the government

            must produce  evidence independent  of the alleged  scheme to

            show the defendant's  fraudulent intent."); United  States v.
                                                        ______________

            Von  Barta,  635 F.2d  999,  1005-1006  n.14 (2d  Cir.  1980)
            __________

            (noting  that "the  prosecution must  prove that  some actual

            harm or injury was at least contemplated"), cert. denied, 450
                                                        _____ ______

            U.S. 998 (1981).  With this background, we consider the facts

            of this case.



































                                         -19-
                                          19















            A.  Scheme to Defraud
            _____________________

                      Here,  the government did  not prosecute  Sawyer on

            the theory  that he, as a  lobbyist, directly owed a  duty of

            honest services to the Commonwealth or its citizens.  Rather,

            the government sought to prove that Sawyer engaged in conduct

            intended to cause state legislators to violate their  duty to

            the  public.  The government  sought to establish this scheme

            by  proving  that Sawyer  intentionally  violated,  or caused

            members of  the  legislature to  violate,  two  Massachusetts

            statutes.

                      Briefly,   these    two   Massachusetts   statutes,

            discussed  more fully infra, are: (1) Mass. Gen. L. ch. 268B,
                                  _____

              6 (the "gift" statute), which prohibits -- under threat  of

            civil  penalties --  a "legislative  agent" from  offering or

            giving to a public official (or an official's  acceptance of)

            "gifts" aggregating $100 or more per year; and (2) Mass. Gen.

            L. ch. 268A,   3 (the "gratuity" statute), which prohibits --

            under threat of civil  and criminal penalties -- anyone  from

            giving to a  legislator (or a  legislator from soliciting  or

            accepting)  anything  of "substantial  value  .  .  . for  or

            because  of any official act performed or to be performed" by

            that  person.   Through  the  violation  of these  laws,  the

            government contended, Sawyer stole the honest services of the

            legislators.





                                         -20-
                                          20















                      In general, proof of  a state law violation  is not

            required  for  conviction  of  honest services  fraud.    See
                                                                      ___

            Silvano, 812 F.2d  at 759.   Indeed, the  incorporation of  a
            _______

            state  law   violation  in  such  a   prosecution  may  cause

            complications.   See  United States  v. Washington,  688 F.2d
                             ___  _____________     __________

            953,  958 (5th  Cir. 1982)  (reversing mail  fraud conviction

            where  jury should  have been  instructed that  the defendant

            "should  not be found  guilty of  the federal  offense merely

            because he  violated state law").  Here, however, the parties

            agree  that the  indictment,  as structured,  required it  to

            prove that Sawyer violated at least one state law.  Thus, the

            state  laws  in question  had to  be  correctly charged  as a

            matter of state law, and the violation of at least one had to

            be proven.

                      Sawyer appeals various aspects of  the court's jury

            instructions  on the  state statutes  and their  role  in the

            alleged scheme to defraud.  To determine  whether the court's

            instructions adequately  explained the  law  or whether  they

            "tended to confuse  or mislead  the jury,"  United States  v.
                                                        _____________

            Alzanki,  54  F.3d  994,   1001  (1st  Cir.  1995)  (internal
            _______

            quotations and  citation omitted),  cert. denied, 116  S. Ct.
                                                _____ ______

            909  (1996), we  review the entire  charge pertaining  to the

            role  of the  state statutes  in this  honest services  fraud

            prosecution:

                      In this case  the government has  charged
                      Mr.  Sawyer  with  devising a  scheme  or


                                         -21-
                                          21















                      artifice; that is, a plan, to deprive the
                      Commonwealth  of  Massachusetts  and  its
                      citizens of  their  right to  the  honest
                      services of members of  the Massachusetts
                      Legislature  by  giving  or  offering  to
                      those legislators gifts  of free  travel,
                      lodging,    golf,   meals,    and   other
                      entertainment.  I instruct you that under
                      the  mail  and  wire  fraud  statutes,  a
                      scheme  to  defraud  can  be  a  plan  to
                      deprive the  public of  its right  to the
                      honest   services   of  members   of  the
                      Massachusetts Legislature.
                           Elected  public  officials, such  as
                      members of the Massachusetts Legislature,
                      owe certain duties to the Commonwealth of
                      Massachusetts and  to its citizens.   One
                      of  those  duties  is  the  duty  to  act
                      honestly.  The government charges that by
                                 ______________________________
                      violating  and   causing  legislators  to
                      _________________________________________
                      violate   certain  state   statutes,  Mr.
                      _________________________________________
                      Sawyer deprived the  public of its  right
                      _________________________________________
                      to the  honest services of members of the
                      _________________________________________
                      Massachusetts Legislature  and, therefore
                      _________________________________________
                      devised a scheme to defraud.
                      ___________________________
                           In   other  words,   the  government
                      alleges   that  the   defendant  violated
                                            ___________________
                      federal  laws, mail fraud and wire fraud,
                      _________________________________________
                      by  intentionally  violating  or  causing
                      _________________________________________
                      Massachusetts   legislators  to   violate
                      _________________________________________
                      certain  state  laws.    Accordingly,  in
                      ____________________
                      order to  prove the first element  of the
                      mail  fraud and/or  wire fraud,  that the
                      defendant  devised  a scheme  to defraud,
                      the  government  must   prove  beyond   a
                      reasonable   doubt  that   the  defendant
                      intentionally violated  or caused members
                      of   the  Massachusetts   Legislature  to
                      violate at least one of the following two
                      state laws . . . . (emphasis added).

            After describing the two statutes, the court continued:

                      If  you find  beyond  a reasonable  doubt
                      that  the defendant devised  or created a
                      scheme   to   defraud    in   which    he
                      intentionally   violated   or  caused   a
                      violation  of at  least one  of the  laws
                      that  I have just described, then you may
                      find that  the government has  proved the


                                         -22-
                                          22















                      first  element of  mail  fraud  and  wire
                      fraud.

                      These instructions  permitted the jury to  find the

            requisite scheme to defraud  upon proof that Sawyer violated,

            or  caused legislators  to violate,  either one of  the state
                                                 ______

            statutes.  In other words, the  jury was allowed to find that

            a violation of either  statute, without more, constituted the

            deprivation  of honest  services.8   At oral  argument before

            this court,  the government affirmed that it  chose the state

            law  violations as "the sole  vehicle to prove  the scheme or

            artifice to defraud" in order to "narrow the issues of intent

            and good faith."   Thus,  we analyze both  state statutes  in

            light  of the  law of  honest services,  set forth  above, to

            determine  whether  the   court's  instructions   erroneously

            permitted a conviction  for conduct not  within the reach  of

            the mail fraud statute.

                      1.  The Gift Statute
                      ____________________


                                
            ____________________

            8.  After the  court instructed  the jury, Sawyer  lodged the
            following objection:

                      Your  Honor, I  believe that  the Court's
                      instruction  failed to  properly instruct
                      the jury that, even  if it finds that the
                      defendant violated  one of the  two state
                      statutes . . . the defendant would not be
                      guilty of any federal offense, mail fraud
                      and  wire  fraud  offense,   unless  [the
                      violation] was  part of a plan to defraud
                      the Commonwealth of Massachusetts  or its
                      citizens of the duty of honest services.

            The court declined any further charge.

                                         -23-
                                          23















                      The   first  Massachusetts  statute  on  which  the

            alleged scheme to  defraud was  based is ch.  268B,   6  (the

            "gift statute"), which provides:

                      No legislative agent shall  knowingly and
                      wilfully  offer  or   give  to  a  public
                      official  or public employee  or a member
                      of such person's immediate family, and no
                      public  official  or  public employee  or
                      member of such person's  immediate family
                      shall knowingly and  wilfully solicit  or
                      accept from any legislative  agent, gifts
                      with  an aggregate  value of  one hundred
                      dollars or more in a calendar year.

            Mass.  Gen. L. ch. 268B,   6.  We discuss Sawyer's challenges

            to  the court's  instructions  on  the statutory  definitions

            before turning  to the  statute's relation  to the scheme  to

            defraud. 

                           a.  "Legislative Agent"
                           _______________________

                      The court  instructed  the  jury  that,  under  the

            statute,  a  legislative agent  cannot  give  or offer  gifts

            aggregating $100 or  more to  a legislator or  member of  the

            legislator's   family.     It  further   instructed  that   a

            "legislative agent"  is "any person who,  for compensation or

            reward,  does  any  act   to  promote,  oppose  or  influence

            legislation."  See Mass.  Gen. L. ch. 268B,   1(g).9   Sawyer
                           ___

                                
            ____________________

            9.  The   entire  definition  of   "legislative  agent,"  for
            purposes of the gift statute, is:

                      any person who for compensation or reward
                      does   any  act  to  promote,  oppose  or
                      influence legislation  . . . .   The term
                      shall include persons who, as any part of
                      their  regular  and usual  employment and

                                         -24-
                                          24















            argues that this instruction  failed to reflect his assertion

            that  a person  is a "legislative  agent" only when  he is so

            registered  with the  Secretary of  State or  he is  actually

            engaging in lobbying activity at the time he gave the alleged

            gifts.

                      The court  instructed that  a legislative  agent is

            one   who  is   paid   to  "promote,   oppose  or   influence

            legislation,"  i.e.,  to  lobby,  and that  such  agents  are
                           ____

            forbidden to give or offer certain "gifts."  The instruction,

            as  a whole, adequately conveyed the idea that such gifts are

            forbidden only  when given by those  who, at the time  of the

            gifts, are  paid to actually  lobby.   While there  may be  a

            person with the  job title "lobbyist"  who does not  actually

            engage in lobbying, there was ample evidence here that Sawyer

            lobbied at the time  he gave the alleged "gifts."   Moreover,

            the  fact  that he  had an  obligation  to register  with the

            Secretary of State, see Mass. Gen. L.  ch. 3,    40, 41, does
                                ___

            not  alter  the  definition.    No  further  instruction  was

            required.

                           b.  Shared Meals as "Gifts"
                           ___________________________


                                
            ____________________

                      not simply incidental thereto, attempt to
                      promote, oppose  or influence legislation
                      . . . whether  or not any compensation in
                      addition   to   the   salary   for   such
                      employment is received for such services.

            Mass.  Gen. L. ch. 268B,    1(g); see also  3   39 (identical
                                              ___ ____
            definition in statutory section on disclosure obligations).

                                         -25-
                                          25















                      The court instructed  the jury that "gifts,"  under

            the    relevant   Massachusetts   law,    are   "a   payment,

            entertainment, subscription, advance, services or anything of

            value,  unless consideration  of  equal or  greater value  is

            received."   See Mass. Gen. L. ch. 268B,   1(g).  Much of the
                         ___

            evidence  offered to  prove Sawyer's  violations of  the gift

            statute was  his payment  for shared meals  and entertainment

            with the legislators.  Sawyer  contends that his payment  for

            "shared hospitality" does not  constitute a "gift" within the

            meaning   of  the  statute.    The  issue  turns  out  to  be

            potentially  complicated  and  involves  somewhat  convoluted

            analysis of  the statutory  history of  a comparable  law set

            forth at  Mass. Gen.  L.  ch. 3,    43.   We  have  carefully

            reviewed the arguments on both sides, and for the reasons set

            forth  in the  district  court's ruling,  see Sawyer,  878 F.
                                                      ___ ______

            Supp.  at  282-84, we  conclude  that  Sawyer's shared  meals

            could, if the jury so found, fit within the gift definition's

            term  "entertainment" and/or the very broad phrase, "anything

            of value."

                           c.  Relation to Scheme to Defraud
                           _________________________________

                      As   explained  above,   under  the   court's  jury

            instructions   regarding  the  scheme  to  defraud,  Sawyer's

            intentional  violations of  the gift  statute, by  their very

            occurrence (or ipso facto), must deprive the public  of their
                           ____ _____

            legislators' honest services.   Sawyer challenges  this legal



                                         -26-
                                          26















            premise,  arguing  that such  violations  do  not necessarily

            deprive  the public  of those  services.10   For  the reasons

            that follow, we agree.

                      The gift statute, which forbids a legislative agent

            from "knowingly and wilfully" giving a "public official . . .

            gifts with an aggregated value of one hundred dollars or more

            in  a calendar  year," Mass.  Gen. L.  ch. 268B,    6, simply

            limits, by  a dollar-amount, the gift-giving  by lobbyists to

            legislators.   It  is a  prophylactic civil  prohibition that

            addresses  appearances of -- but not actual -- corruption.  A

            violation  of  the   Massachusetts  gift  statute   does  not

            necessarily  entail any  improper  motive  to  influence,  or

            otherwise affect,  the official duties of the  recipient.  It
                                            ______

            is possible for a lobbyist to give a legislator items falling

            within  the   statute's  definition  of  "gift,"   or  for  a


                                
            ____________________

            10.  The  government claims that  Sawyer has  only challenged
            the  evidentiary sufficiency  of his  fraudulent intent,  and
            thus has waived  a jury instruction  challenge on the  issue.
            We disagree.   While Sawyer ultimately  endeavors to persuade
            us  that  the  evidence   was  insufficient  to  support  his
            conviction, he squarely challenges the very legal theory upon
            which  he  was convicted.    He  particularly challenges  the
            government's theory (as accepted by the district court) that,
            as a matter of law, the scheme to defraud could be predicated
            upon  state  law  violations  alone, without  the  intent  to
            deprive the  public  of honest  services.   Sawyer  not  only
            lodged  an adequate  objection on this  issue with  the trial
            court, see supra note  8, his brief to this  court thoroughly
                   ___ _____
            addresses the  precise legal issues surrounding the interplay
            between  the  mail  statute,  the  state  statutes,  and  the
            requirement of  fraudulent intent.   The legal  arguments are
            sharply  presented and the record is adequate for our review.
            Thus, we conclude that the issue is properly before us.

                                         -27-
                                          27















            legislator  to  accept such  gifts,  without  an accompanying

            intent to  cause the  legislator to deviate  from the  honest

            performance  of  official duties.    While  such gifts  would

            constitute   a   gift-statute  violation,   not   every  such

            circumstance would necessarily amount to a deviation from the

            official's performance  of honest  services to  the public.11

            Thus, unlike the honest services fraud cases, noted above, in

            which an official was bribed or took official action based on

            a secret conflict of interest, a gift statute violation, even

            if intentional, does not in itself  amount to honest services

            fraud.

                      While  the  Massachusetts' citizenry  expects their

            legislators to comply with  laws pertaining to their official

            capacity, the  presence of such illegal  conduct, even though

            it relates to public office, does not by itself (or,  per se)
                                                                  ___ __

            establish honest services  fraud.  Cf.  See United States  v.
                                               ___  ___ _____________

            Dowling, 739  F.2d 1445,  1449-50 (9th Cir.  1984) (rejecting
            _______

            government's suggestion that "the presence of illegal conduct

            alone  may constitute the basis  of the `fraud'  element of a

            mail fraud prosecution" and stating that "to hold otherwise .

            . . would have  the potential of bringing almost  any illegal

            act within the province of the mail fraud statute"), rev'd on
                                                                 ________

            other grounds, 473 U.S. 207 (1985); United States v. Gallant,
            _____________                       _____________    _______

                                
            ____________________

            11.  We note  that under Massachusetts law,  violation of the
            gift  statute is  punishable by  no more  than a  $2000 civil
                                                                    _____
            fine.

                                         -28-
                                          28















            570  F. Supp. 303, 309  and n.7 (S.D.N.Y.  1983) (noting that

            Congress  forbade the use of the mails in furtherance of "any

            scheme or artifice to defraud" and not in furtherance of "any

            crime").  To allow  every transgression of state governmental

            obligations to  amount to  mail fraud would  effectively turn

            every such  violation into a  federal felony; this  cannot be

            countenanced.

                      Because  the court's instructions  allowed the jury

            to equate  a gift statute  violation with the  deprivation of

            honest  services,  it  also permitted  the  jury  to find  an

            "intent to defraud"  from the intent to violate  the statute,

            without more.   To  establish the  scheme to  defraud through

            these violations, however, it must also have been charged and

            shown  that   the  intent  behind  the   violations  was  the
                               ______

            deprivation of honest services.  See D'Amato, 39 F.3d at 1257
                                             ___ _______

            (explaining that where  harm is not  the necessary result  of

            the  scheme, independent  evidence  of fraudulent  intent  is

            required).   Thus, this case required  a separate instruction

            that, to prove  the intent to  commit honest services  fraud,

            the jury had  to find  that Sawyer intended  to influence  or
                                               __________________________

            otherwise  improperly affect  the  official s performance  of
            _____________________________________________________________

            duties, not  merely that  he  intended to  violate the  state
            ______

            statute.12   Allowing the jury  to find that  Sawyer intended

                                
            ____________________

            12.  This intent  is not  equivalent to, or  subsumed within,
            the  intent  to deceive  the  public,  discussed  infra.   In
                            _______                           _____
            addition to deceit (the  gravamen of "fraud"), the government
                        ______

                                         -29-
                                          29















            to defraud the public  of its right to honest  services based

            on  proof  of  gift  statute  violations   alone  constituted

            reversible error.  See United States v. Doherty, 867 F.2d 47,
                               ___ _____________    _______

            57 (1st  Cir.), cert. denied, 492 U.S.  918 (1989) (observing
                            _____ ______

            that  reversal  of  convictions is  required  if instructions

            "could have led the  jury to convict for conduct  outside the

            proscription of the mail fraud statute").  

                      2.  The Gratuity Statute
                      ________________________

                      The  second Massachusetts  statute  upon which  the

            convictions for honest-services mail fraud rely, is ch. 268A,

              3 (the "gratuity statute"), which provides, in part:

                      (a)  Whoever,  otherwise than as provided
                      by  law  for  the  proper   discharge  of
                      official  duty,  directly  or  indirectly
                      gives,  offers  or  promises anything  of
                      substantial  value  to  any   present  or
                      former  state . . . employee . . . for or
                      because of any  official act performed or
                      to be performed by such an employee
                      . . . .
                      (d)  . . . shall be punished by a fine of
                      not  more than three  thousand dollars or
                      by  imprisonment  for not  more  than two
                      years, or both.

            Mass. Gen. L. ch. 268A,   3.




                                
            ____________________

            must also show  the intent to harm (in  this case, to deprive
                                          ____
            of  honest  services).   See  McEvoy Travel  Bureau,  Inc. v.
                                     ___  ____________________________
            Heritage  Travel,  Inc.,  904  F.2d 786,  791-92  (1st  Cir.)
            _______________________
            (explaining  that  mail  fraud   requires  both  deceit   and
            deprivation), cert. denied, 498  U.S. 992 (1990); D'Amato, 39
                          _____ ______                        _______
            F.3d at  1257 (explaining that  "the deceit  must be  coupled
            with  a  contemplated harm  to  the  victim") (quotation  and
            citation omitted).

                                         -30-
                                          30















                      The  centerpiece  of the  gratuity  statute  is the

            giving of an item of "substantial value" (the "gratuity"), to

            an official, "for or because of any official act performed or

            to be  performed" by  the  official.   Because this  language

            entails some connection between  the gift and the performance

            of official duties, a gratuity statute violation --  unlike a

            gift  statute  violation  --  may  itself  be  sufficient  to

            implicate the duty of  honest services in a  given case.   As

            with the  gift statute, however,  not every violation  of the

            gratuity  statute  automatically  encompasses  an  intent  to

            induce the  public  official to  alter  or deviate  from  the

            performance of honest and impartial services.  We explain.

                      A Massachusetts gratuity offense does not require a

            finding of corrupt intent, i.e., improper intent to influence
                                       ____

            official decision  making.   See Commonwealth v.  Dutney, 348
                                         ___ ____________     ______

            N.E.2d  812,  821 (Mass.  Ct.  App.  1976) (finding  gratuity

            offense  to be  a  lesser included  offense of  Massachusetts

            bribery  statute, Mass. Gen. L. ch. 268A,   2, which adds the

            element  of "corrupt  intent" i.e.,  intent  to influence);13
                                          ____

                                
            ____________________

            13.  The Massachusetts bribery statute,  which did not form a
            part of this case, provides, in part:

                      Whoever,    directly    or    indirectly,
                      corruptly   gives,  offers   or  promises
                      _________
                      anything  of value  to  any state  . .  .
                      employee  . .  ., with  intent .  . .  to
                                        ____________         __
                      influence  any  official act  or  any act
                      ____________________________
                      within  the  official  responsibility  of
                      such employee [shall be punished].


                                         -31-
                                          31















            cf. United States v.  Mariano, 983 F.2d 1150, 1159  (1st Cir.
            ___ _____________     _______

            1993) (observing that gratuity offense, unlike  bribery, does

            not involve a  "corrupt purpose").  Rather,  only some lesser

            intent  need be  shown.  A  jury might  be charged  to find a

            bribery or gratuity offense in the alternative, thus allowing

            it to convict for a gratuity offense  if it is convinced that

            the defendant gave  something to a public official because of

            an  official act, but is not persuaded that the defendant had

            a corrupt intent to  influence that act.  See,  e.g., Dutney,
                                                      ___   ____  ______

            348 N.E.2d at 821.

                      As the  word "gratuity"  implies,  the intent  most

            often associated with  the offense is the  intent to "reward"

            an official for an  act taken in the past  or to be taken  in

            the  future.   See Mariano,  983 F.2d  at 1159  (noting that,
                           ___ _______

            unlike one who bribes, the gratuity offender "gives  the gift

            without  attaching any  strings,  intending it  instead as  a

            reward for actions the public  official has already taken  or

            is  already committed  to  take").   The  official act  might

            otherwise  be properly  motivated; and  the  gratuity, though

            unlawful, might  not be intended to  influence the official's

            mindset  with regard  to  that particular  action.   In  some

            cases, such as  a reward for  long-past official action,  the

            intent to influence could  not possibly exist.  A  finding of

            honest services fraud, however, requires, in connection  with

                                
            ____________________

            Mass. Gen. L. ch. 268A,   2(a) (emphasis added).

                                         -32-
                                          32















            the gratuity, the intent to cause an official to deviate from

            the honest performance of services.

                      Thus,  as  with  the   gift  statute,  proof  of  a

            violation  of the  Massachusetts  gratuity  statute,  without

            more, does not establish an  intent to commit honest services

            fraud.   The  government  must  prove that  the  conduct  was

            accompanied by the  requisite intent.   This intent could  be

            shown  in a  number of  ways.   For example,  a bribery-like,

            corrupt intent to influence official action necessarily is an

            intent  to  deprive  the   public  of  an  official's  honest

            services.   A  person might  not,  however, give  an unlawful

            gratuity with the intent  to effect a specific quid  pro quo.
                                                           ____  ___ ___

            Rather,  as  the  government  contends here,  a  person  with

            continuing and  long-term interests before an  official might

            engage  in  a  pattern  of   repeated,  intentional  gratuity

            offenses in  order to coax ongoing  favorable official action

            in  derogation of  the public's  right to  impartial official

            services.   Such  conduct would  be akin  to (although  not a

            classic case of) the conflict of  interest cases noted above.

            See,  e.g., Grandmaison, 77 F.3d at 567; Silvano, 812 F.2d at
            ___   ____  ___________                  _______

            759.  Here, for  example, while Sawyer may not  have provided

            the legislators with direct kickbacks  or commissions arising

            out of the specific official action, he may have intended the

            legislators  generally  to  treat   preferentially  Hancock's

            interests,  knowing that  the free meals,  entertainment, and



                                         -33-
                                          33















            golf would continue so long as  favorable official acts were,

            at some point, taken.

                      In this case, the district  court did not, in fact,

            instruct  the jury on a true "gratuity" offense.  Instead, it

            instructed the  jury that,  to establish a  gratuity offense,

            the  government must  prove  that Sawyer  "gave something  of

            substantial  value  to  a   legislator  with  the  intent  to
                                                    _____________________

            influence  an official act  of that legislator."   While this
            __________________________

            instruction erroneously added an  intent-to-influence element

            to the gratuity offense,  it also had the effect  of charging

            the jury  to find  the requisite intent  for honest  services

            fraud.14  

                      3.    Conclusion:  Scheme   to  Deprive  of  Honest
                      ___________________________________________________

            Services
            ________

                      The jury was permitted to find the first element of

            mail and wire fraud,  the scheme to defraud, upon  proof that

            either the gift statute or the gratuity statute was violated.

            The  gift   statute  as  charged,  however,   was  a  legally
                 ____

            insufficient basis upon which to find  the scheme to defraud.

                                
            ____________________

            14.  The  court also  instructed the  jury that  it is  not a
            defense to a gratuity charge that the official act would have
            occurred even if the gratuity had not been given.  See United
                                                               ___ ______
            States v. Previte,  648 F.2d 73, 82 (1st  Cir. 1981).  Sawyer
            ______    _______
            assigns error  to this instruction, contending  that the fact
            that the  act would  have occurred  without  the gratuity  is
            indicative of good faith.   Sawyer fails to explain, however,
            how  the fact that an official act would have occurred anyway
            could  have  affected  his  state  of  mind  when giving  the
                                   ___
            gratuities.  The court's  instruction was a correct statement
            of the law, relevant to this case, and it was not in error.

                                         -34-
                                          34















            Although  the  gratuity statute  was  properly  instructed in
                           ________

            terms  of honest services mail  fraud, we cannot  tell if the

            convictions were based on  that statute or the insufficiently

            charged  gift statute.  When  a jury has  been presented with

            several  bases  for  conviction,  one  of  which  is  legally

            erroneous, and it is impossible to tell which ground the jury

            convicted upon,  the conviction cannot stand.   United States
                                                            _____________

            v. Nieves-Burgos, 62 F.3d 431, 435-36 (1st Cir. 1995).
               _____________

                      The government contends that  if we find error with

            respect to the gift statute, we should affirm the convictions

            because   the  jury  found  that  Sawyer  committed  gratuity

            offenses within  the Travel Act convictions, discussed infra.
                                                                   _____

            We cannot  assume from  the Travel Act  convictions, however,

            that  the jury based its  mail and wire  fraud convictions on

            the gratuity statute.  The court charged the jury to consider

            each  offense as separate bases  for the mail  and wire fraud

            charges.   Accordingly,  the  possibility exists  that,  when

            convicting  on the  mail  and wire  fraud  charges, the  jury

            focused on violations of the gift statute, alone.  See Boots,
                                                               ___ _____

            80 F.3d at 589  (declining to affirm conviction where  it was

            possible  that  the jury  focused  its  verdict on  erroneous

            basis).   Thus, for the foregoing reasons,  Sawyer's mail and

            wire fraud convictions must be reversed.

                      Sawyer contends that  the evidence was insufficient

            to  prove an  intent to  influence the  legislators' official



                                         -35-
                                          35















            acts  and that  therefore his  conviction should  be reversed

            without the possibility  of retrial.   We cannot  agree.   At

            trial,  there  was  evidence  that  Sawyer  intentionally and

            repeatedly   provided  legislators  with  valuable  gifts  of

            entertainment for the purpose  of obtaining "greater  access"

            to,15  and  of  developing  a  "certain  relationship  with,"

            legislators.  A  jury could credit  Sawyer's defense that  he

            thought his expenditures were lawful and that they were meant

            only for goodwill entertaining.   Taking the evidence in  the

            light most favorable to  the prosecution, however, see United
                                                               ___ ______

            States  v. Olbres, 61 F.3d 967, 970 (1st Cir.), cert. denied,
            ______     ______                               _____ ______

            116  S. Ct. 522 (1995),  a jury could  also rationally infer,

            beyond  a  reasonable doubt  that  Sawyer  intended that  his

            repeated  gifts and  gratuities would  induce legislators  to

            perform   official  acts   to  benefit   Hancock's  interests

            regardless of,  or at  the expense  of, the public  interest.

                                
            ____________________

            15.  We  do  not think  that the  desire  to gain  access, by
            itself,  amounts to  an  intent to  influence improperly  the
            legislators'  exercise of  official duties.   The  government
            points  to no legislative duty to provide equal access to all
            members of the public;  and, from a practical  standpoint, we
            doubt one exists.   See Sawyer, 878 F. Supp. at 294 (striking
                                ___ ______
            phrase  "free  from  favoritism"  from  indictment's list  of
            legislators' duties).   True,  Sawyer's very  job description
            required him to develop contacts  in the Legislature, and, as
            with all lobbyists, his employment  goal was to persuade  and
            influence legislators  to benefit  certain  interests.   Such
            endeavors, however,  are protected by the  right "to petition
            the Government for a redress  of grievance" guaranteed by the
            First Amendment of the United States Constitution, see United
                                                               ___ ______
            States  v. Harriss,  347 U.S.  612, 625  (1954); it  would be
            ______     _______
            impermissible to rely upon the lobbying position  simpliciter
            to establish a corrupt intent to influence.

                                         -36-
                                          36















            Hence, retrial is not precluded.  See Boots, 80  F.3d at 589-
                                              ___ _____

            90  (reversing because  of  legal error  in instructions  but

            remanding  for  possible  retrial  because  the  evidence was

            sufficient for proper conviction); United States v. Ochs, 842
                                               _____________    ____

            F.2d 515, 529 (1st Cir. 1988) (same).

                      In view of the  possibility that the government may

            choose to retry  this case, we  think it is  useful to add  a

            cautionary word concerning the relationship between state and

            federal  law in cases  such as  this one.   Our  comments are

            addressed primarily to  the mail fraud  statute but apply  in

            some  measure to the  Travel Act charge,  discussed infra, as
                                                                _____

            well.  Two problems are of specific concern to us.

                      First, concerning the theft of honest services jury

            instruction, an  overemphasis on  what state law  forbids may

            lead the jury to  believe that state rather than  federal law

            defines the  crime, or more specifically,  that any violation

            of a state law or  regulation concerning lobbying or  related

            matters amounts  to honest  services fraud.    Wire and  mail

            fraud are  federal offenses;  and while state  violations may
                       _______

            play a  role, the jury should not be allowed to slip into the

            misunderstanding  that any  violation of  proliferating state

            laws  and regulations  controlling  this  area  automatically

            amounts to a federal crime.

                      In  a similar vein, we think there exists a risk in

            this case -- particularly in view of the prosecutor's closing



                                         -37-
                                          37















            argument  with  its repeated  emphasis on  permissible dollar

            limits in  lobbying --  that the jury  could wrongly  believe

            that  any expenditure  in  excess of  that  allowed by  state

            statute or  regulation  by  itself  constitutes  the  federal

            offense.    The  district  court has  ample  authority  under

            Federal  Rule of  Evidence 403  to limit  evidence concerning

            state law  requirements where that evidence  is substantially

            more  prejudicial than probative.   And, in  all events, jury

            instructions need to make  clear that for the federal  honest

            services  fraud  to be  proven, the  defendant must  have the

            intent to  affect a  legislator's performance of  an official

            act  and not merely to make  payments in excess of some state

            specified limitations.

            B.  Intent to Deceive
            _____________________

                      Whether or not  a new  trial on the  mail and  wire

            fraud  counts  is allowable  requires  us  to reach  Sawyer's

            additional contention  that the evidence  was insufficient to

            establish his intent  to deceive  the public.   To this  end,

            Sawyer contends that because the government did not establish

            that  he had  a  duty  to  disclose  his  illegal  gifts  and

            gratuities to  the public, his  intent to deceive  the public

            had to be shown through affirmative acts of deception,  which

            he claims are absent here.

                      To  establish  mail  fraud  --  in  cases involving

            honest  services fraud  and otherwise  -- the  alleged scheme



                                         -38-
                                          38















            must involve deception in the deprivation of money, property,

            or the right to  honest services.  See McEvoy  Travel Bureau,
                                               ___ ______________________

            Inc. v. Heritage Travel,  Inc., 904 F.2d 786, 791  (1st Cir.)
            ____    ______________________

            ("[N]ot every use of the mails or wires in furtherance  of an

            unlawful scheme  to deprive  another of property  constitutes

            mail or wire fraud. . . . Rather, the scheme must be intended

            to  deceive   another,  by  means  of   false  or  fraudulent
                _______

            pretenses,  representations,  promises  or   other  deceptive

            conduct.")  (citations omitted), cert.  denied, 498  U.S. 992
                                             _____  ______

            (1990); see also  Grandmaison, 77 F.3d  at 567 (finding  that
                    ___ ____  ___________

            public  official's conduct of  secretly delivering gratuities

            to other  officials for favorable action, "without disclosing

            his actions  to other  [officials]," falls within  purview of

            honest services  mail fraud) (citing McEvoy  Travel, 904 F.2d
                                                 ______________

            at 791);  United States v. Bush, 522  F.2d 641, 648 (7th Cir.
                      _____________    ____

            1975),  cert.  denied,  424  U.S.  977  (1976).16    While  a
                    _____  ______

                                
            ____________________

            16.  Under 18 U.S.C.   1346, "the term 'scheme or artifice to
            defraud' includes a scheme or artifice to deprive another  of
                                                      _______
            the intangible right of  honest services."  (emphasis added).
            We do not think the word "deprive" in this section eliminates
            the  requirement  of  deceit  in  an  honest  services  fraud
                                  ______
            prosecution.  Nor do  we find that a deprivation  of "honest"
            services,  by  definition,  necessarily  includes  the deceit
            factor  sufficient  for  mail  fraud.   By  enacting    1346,
            Congress  meant to  overturn  McNally, 483  U.S. 350  (1987),
                                          _______
            which held that  the scheme  to defraud must  be intended  to
            deprive another  of money or property.   Grandmaison, 77 F.3d
                                                     ___________
            at 566.  And  prior to McNally, courts endorsing  the honest-
                                   _______
            services mail fraud theory  invariably required some  showing
            of  deceit  which  is inherent  in  the  term  "fraud."   See
                                                                      ___
            Silvano, 812 F.2d at 759-60; Mandel, 591 F.2d at 1361; United
            _______                      ______                    ______
            States  v. Barber,  668 F.2d  778,  784-85 (4th  Cir.), cert.
            ______     ______                                       _____
            denied,  459 U.S. 829 (1982).  We find nothing that indicates
            ______

                                         -39-
                                          39















            misrepresentation of  fact is not required  to establish mail

            fraud,  McEvoy Travel, 904 F.2d at 791, a demonstrated intent
                    _____________

            to deceive is required.

                      When  the  conduct  of  a  government  official  is

            involved,   "the  affirmative   duty  to   disclose  material

            information   arises  out   of  [the]   official's  fiduciary

            relationship to [the public]."  Silvano, 812 F.2d at 758; see
                                            _______                   ___

            id. at 760 ("Although not  all dishonest or disloyal  conduct
            ___

            by an employee violates the mail fraud statute, an employee's

            breach of a fiduciary duty falls within the strictures of the

            statute  when it encompasses the breach of a duty to disclose

            material information to the employer.").  Thus, an official's

            intentional violation  of the  duty to disclose  provides the

            requisite "deceit."  See  id. at 760 (noting that  failure to
                                 ___  ___

            disclose "under circumstances  where the non-disclosure could

            or does result in harm to the employer is a  violation of the

            mail  fraud  statute")  (citation  and   internal  quotations

            omitted).

                      Here,  although the  issue  has  not  been  clearly

            presented  by  the parties,  it  appears  that the  requisite

            intent  to  deceive  could  have been  shown  either  through

            Sawyer's own acts of deception toward the public with respect

                                
            ____________________

            a change in this requirement for establishing honest services
            mail or  wire  fraud.   Thus, while  it may  be difficult  to
            conceive  of  a scheme  to deprive  someone  of the  right to
            honest services without intending to deceive that person, the
            intent to deceive must nonetheless be established.

                                         -40-
                                          40















            to  the  gift/gratuity  statute  violations, or  through  his

            efforts to  ensure that  the legislators deceived  the public

            with respect to the violations.  The latter requires evidence

            only  that   Sawyer  intended   to   cause  the   legislators

            intentionally to  fail to disclose material information about

            the  violations,17 although  evidence  that  he intended  the

            legislators  to affirmatively misrepresent themselves in this

            regard would also suffice.   At bottom, the evidence  must be

            sufficient to establish Sawyer's intent that, in the end, the

            publicbedeceivedwith respecttohisunlawfulgifts andgratuities.

                      Therefore,  we  must  determine  if  the admissible

            evidence,  viewed  in  light  most favorable  to  the  jury's

            verdict,  is  sufficient for  a  rational jury  to  find that

            Sawyer  intended that  the public  be deceived.   See  United
                                                              ___  ______

            States  v. Kaplan, 832 F.2d  676, 679 (1st  Cir. 1987), cert.
            ______     ______                                       _____

            denied, 485 U.S. 907 (1988).  The evidence need not compel an
            ______

            intent-to-deceive finding; rather, it is only required that a

            reasonable jury  could  be  persuaded,  beyond  a  reasonable

            doubt, that Sawyer  had such  intent.  See  United States  v.
                                                   ___  _____________

            O'Brien,  14 F.3d 703,  706-707 (1st Cir. 1994).   And we are
            _______

            mindful  that   a  jury  may  choose   among  the  reasonable

            alternatives posed by the evidence.  United States v. Olbres,
                                                 _____________    ______

                                
            ____________________

            17.  Although  allegations that Sawyer  caused legislators to
            violate their statutory disclosure obligations were withdrawn
            by  the  government  at  trial, the  obligation  to  disclose
            material  information  inheres  in  the  legislator's general
            fiduciary duty to the public.  Silvano, 812 F.2d at 758.
                                           _______

                                         -41-
                                          41















            61 F.3d  967, 973 (1st  Cir. 1995), cert. denied,  116 S. Ct.
                                                _____ ______

            522 (1995).  Finally,  the specific intent to deceive  may be

            proven  (and  usually  is)  by  indirect  and  circumstantial

            evidence.   See O'Brien, 14 F.3d at 706 (observing that fraud
                        ___ _______

            crimes "by their very  nature, often yield little in  the way

            of direct proof"); Kaplan,  832 F.2d at 679; see  also United
                               ______                    ___  ____ ______

            States  v.  Nivica, 887  F.2d  1110,  1113  (1st  Cir.  1989)
            ______      ______

            (opining  that "factual  circumstances may  signal fraudulent

            intent in  ways as  diverse as  the  manifestations of  fraud

            itself"), cert. denied, 494 U.S. 1005 (1990).
                      _____ ______

                      At first  blush, it  may appear that  bribery of  a

            public official necessarily incorporates  a finding that  the

            offender  intended to  "trick" or  "deceive" the  public into

            thinking that the official  was acting independently when, in

            fact,  the  official was  actually  motivated  by the  bribe.

            While we have little  doubt that bribes are usually  given in

            secrecy, see  Holzer,  816 F.2d  at 309  (observing that  "no
                     ___  ______

            public official  in the United States  takes bribes openly"),

            bribery  and gratuity  statutes  generally, as  here, do  not

            require  a  separate element  of  deception.   Ostensibly,  a
            _______

            person  could offer an illegal bribe to a public official and

            not  be concerned  with  its  secrecy.   Thus,  the  evidence

            presented must permit a finding that Sawyer not only gave the

            unlawful  gifts or gratuities with the  intent to deprive the

            public  of  honest services,  but  that he  also  intended to



                                         -42-
                                          42















            deceive the public about that conduct.  See Bush, 522 F.2d at
                                                    ___ ____

            648.

                      Here, the government presented evidence that Sawyer

            gave the unlawful gifts and gratuities during the seven years

            of the indictment  period until the Boston  Globe exposed the

            practice in May 1993.  Much of his entertainment of lobbyists

            took   place  out-of-state   --  usually   at  industry   and

            legislative conferences -- where members of the Massachusetts

            citizenry  generally  would   not  observe  the  questionable

            activities.   Unlike his acts  of "non-public" entertainment,

            Sawyer ensured compliance with  state ethical standards for a

            1993  Boston Marathon  brunch,  potentially  a  high  profile

            event.    In  his  office,  Sawyer  kept  newspaper  articles

            reporting  legislators'  activities  with  lobbyists,  and in

            particular, the ethical  ramifications of such relationships.

            In one article, Representative  Mara (a recipient of Sawyer's

            unlawful gifts or gratuities)  is quoted as saying, "Everyone

            picks up their own  tabs at [legislative] conferences. .  . .

            These  conferences have  become almost  nonexistent."   These

            articles  were   kept  in  notebooks  with   other  materials

            regarding lobbying laws.

                      A  jury  rationally  could  infer that  Sawyer  was

            cognizant of his ethical obligations in lobbying, knew of the

            public awareness  of lobbying activity,  and repeatedly  gave

            hidden unlawful  gifts and  gratuities until he  was publicly



                                         -43-
                                          43















            exposed.   While not  overwhelming, the combined  evidence is

            sufficient  to permit  a reasonable  jury  to find,  beyond a

            reasonable doubt, that Sawyer  intended to deceive the public

            about his  unlawful expenditures on legislators.   See United
                                                               ___ ______

            States  v.  Ortiz,   966  F.2d  707,  711   (1st  Cir.  1992)
            ______      _____

            (explaining  that "juries  are  not required  to examine  the

            evidence in  isolation, for  `individual pieces  of evidence,

            insufficient  in   themselves  to  prove  a   point,  may  in

            cumulation prove  it.  The sum of an evidentiary presentation

            may well  be greater  than its constituent  parts.'" (quoting

            Bourjaily  v. United  States, 483  U.S. 171,  179-80 (1987)),
            _________     ______________

            cert.  denied,  506  U.S.   1063  (1993);  United  States  v.
            _____  ______                              ______________

            Montminy, 936 F.2d 626, 627-28 (1st Cir. 1991).18
            ________



                                
            ____________________

            18.  The  government  also  presented  evidence  that  Sawyer
            somehow concealed his  expenditures on  legislators from  his
            Hancock superiors  other than Hathaway.   The government does
            not  argue that  this evidence  can amount  to the  requisite
            deceptive conduct, nor did  it rely on it to prove the intent
            to deceive.  In any event, Sawyer's deceptive conduct  toward
            Hancock, alone, cannot form the basis of this honest services
            fraud conviction.   Rather, the  alleged victims of  the mail
            fraud  -- here, the state and the  public -- must be the ones
            deceived.  Thus,  in order  for any deception  of Hancock  to
            form a part of the scheme to deprive the Commonwealth and her
            citizens of  legislators' honest services, some  showing that
            such  conduct  was connected  to  the  defrauding of  alleged
            victims is required.   See McEvoy Travel,  904 F.2d at 794  &amp;
                                   ___ _____________
            n.13  (rejecting  position  that   a  scheme  to  defraud  is
            established if the deception  of one party causes deprivation
            to another);  Lifschultz Fast  Freight, Inc. v.  Consolidated
                          ______________________________     ____________
            Freightways Corp., 805 F. Supp. 1277 (D.S.C. 1992) (requiring
            _________________
            convergence of  identity of  injured and deceived),  aff'd on
                                                                 ________
            other  grounds, 998  F.2d 1009  (4th  Cir.) (Table),  1993 WL
            ______________
            241742, cert. denied, 114 S. Ct. 553 (1993).
                    _____ ______

                                         -44-
                                          44















                      For the foregoing  reasons, Sawyer's mail and  wire

            fraud convictions must be vacated and remanded for a possible

            new trial.

                                         III.
                                         III.
                                         ____

                                  Travel Act Counts
                                  Travel Act Counts
                                  _________________

                      The  government charged  Sawyer with  knowingly and

            wilfully  travelling   and  causing   others  to   travel  in

            interstate commerce with the intent to promote,  carry on and

            facilitate   the  promotion  and   carrying  on  of  unlawful

            activity, to  wit, illegal  gratuities in violation  of Mass.

            Gen. L. ch. 268A,   3, in  violation of 18 U.S.C.   1952 (the

            "Travel  Act").19     The  government  asserted  that  Sawyer

            violated  the  Massachusetts gratuity  statute  subsequent to

            interstate  travel  to  the  following  destinations:  Tulsa,

            Oklahoma;  Orlando,  Florida; Savannah,  Georgia; Scottsdale,

            Arizona;  Key Largo,  Florida;  Charleston,  South  Carolina;

            Amelia Island, Florida; and Puerto Rico.

                                
            ____________________

            19.  The Travel Act proscribes  travel in interstate commerce
            "with intent to .  . . promote, manage, establish,  carry on,
            or  facilitate the  promotion, management,  establishment, or
            carrying on, of any unlawful activity."  18 U.S.C.   1952(a).
            "Unlawful activity" is defined as, inter alia, "bribery . . .
                                               _____ ____
            in violation of the  laws of the State in which  committed or
            of  the United  States."   18  U.S.C.    1952(b); see  United
                                                              ___  ______
            States  v. Arruda, 715  F.2d 671, 681  (1st Cir. 1983).   The
            ______     ______
            district court instructed  the jury that  a violation of  the
            gratuity statute  constituted "unlawful" activity  within the
            purview of  the Travel Act, a view with which we agree to the
            extent that the court instructed that  something of value was
            given in  order to influence  the performance of  an official
            act.   Sawyer does not  dispute that a  gratuity violation of
            this character is "bribery" for purposes of the Travel Act.

                                         -45-
                                          45















                      Sawyer argues that his Travel  Act convictions must

            be reversed because: (1) the court erroneously instructed the

            jury  on   the  gratuity   statute;  (2)  the   evidence  was

            insufficient  to  establish the  gratuity  offenses; (3)  the

            court  barred him  from  presenting evidence  crucial to  his

            defense;  and  (4)  the  court  improperly  admitted  summary

            evidence introduced  by the government.   Although we discuss

            and  reject each of  these arguments in  turn, we nonetheless

            reverse his  conviction on these counts  because the district

            court's  instructions on  the meaning  of "bribery,"  for the

            purposes of the Travel Act, were fatally flawed.

            A.  Gratuity Statute Jury Instructions
            ______________________________________

                      Because   the  Travel  Act  convictions  rely  upon

            violations  of the  Massachusetts  gratuity  statute, we  now

            address  an  additional  state-law  aspect  of  the  gratuity

            statute about which the parties disagree.

                      The  gratuity statute  requires  that the  item  of

            "substantial value"  be given "for or because of any official

            act  performed or to be performed."   Mass. Gen. L. ch. 268A,

              3(a).   An "official act"  is defined as:  "any decision or

            action  in  a  particular  matter  or  in  the  enactment  of

            legislation."    Mass. Gen.  L.  ch. 268A,    1(h).20   Here,

                                
            ____________________

            20.  A "particular matter" is further defined as:

                      any   judicial   or   other   proceeding,
                      application,  submission,  request for  a
                      ruling or  other determination, contract,

                                         -46-
                                          46















            Sawyer  allegedly  bestowed gratuities  upon  legislators who

            were  members of the Insurance Committee.  Thus, for purposes

            of  this  discussion,  we  proceed on  the  theory  that  the

            government had to prove that Sawyer gave the gratuities  "for

            or because of . .  . any decision or action in  the enactment

            of legislation."  See Mass. Gen. L. ch. 268A,    3(a), 1(h).
                              ___

                      The  parties'  interpretations   of  the   gratuity

            statute differ with respect to the scope and character of the

            connection required  between  the gratuity  and the  official

            act.  Sawyer contends  that the gratuity must be  linked to a

            specific, identifiable official  act.  The  government argues

            that  it is sufficient to  prove that the  gratuity would not

            have been  given but  for  the legislator's  ability to  take

            official action favorable to Sawyer.  In a pretrial ruling on

            Sawyer's motions  to dismiss, the district  court agreed with

            the government's interpretation, and instructed as such.21

                                
            ____________________

                      claim,  controversy, charge,  accusation,
                      arrest, decision, determination, finding,
                      but   excluding   enactment  of   general
                      legislation . . .

            Mass. Gen. L. ch. 268A,   1(k).

            21.  The  court's jury  instructions  on this  issue were  as
            follows:

                      I instruct you that the government has to
                      prove beyond a  reasonable doubt that the
                      defendant   intended  to   influence  the
                      action  of the legislator on any official
                      matter  which  was  pending   before  the
                      legislator or  which  may, by  law,  have
                      been  brought  before  the legislator  at

                                         -47-
                                          47















                      No Massachusetts court decision has yet interpreted

            the operative "for  or because of any official  act" language

            in ch. 268A,   3(a).   To support their respective positions,

            the  parties  present   differing  arguments  regarding   the

            statutory language, legislative history, comparable statutes,

            and  State  Ethics Commission  rulings.    We consider  these

            sources separately.

                      1.  Statutory Language
                      ______________________

                      The  gratuity  statute   prohibits  the  giving  of

            gratuities "for or because  of any official act  performed or

            to be  performed."  Mass. Gen. L. ch. 268A,   3.  The statute

            does not  read "for or  because of the  official's position."
                 ___

            Rather, it forbids gratuities motivated by "any official act"


                                
            ____________________

                      some later time.
                           . . . .
                           I  further  instruct  you  that  the
                      government  need  not   prove  that   the
                      alleged gratuity was linked to a specific
                      identifiable  act.   In other  words, the
                      government  need  not   prove  that   the
                      gratuity  was given  as a  quid pro  quo;
                      that is, in exchange for any one specific
                      act performed or  to be performed by  the
                      legislator.  The government does not have
                      to  show  that  there  was  an  agreement
                      between the defendant and  the legislator
                      requiring   the  legislator   to  perform
                      certain   acts   in   exchange  for   the
                      gratuity.
                           The government  must prove, however,
                      that  the  defendant  gave   the  alleged
                      gratuity   to   a  legislator   with  the
                      expectation that the legislator would use
                      his influence on official matters in ways
                      favorable to the defendant.

                                         -48-
                                          48















            and  further  defines, rather  meticulously,  "official act."

            See Mass. Gen. L. ch. 268A,    1(h) &amp; (k).  Thus, on the face
            ___

            of the statute, it  does not appear that the  unlawfulness of

            the  gratuity could  be  established  by  proof that  it  was

            motivated solely by the official's position.  In other words,

            proof of  the offense requires  something more than  a simple

            showing that "but for" the official's authority, the gratuity

            would not have been given.22

                      This observation,  however,  does not  lead to  the

            conclusion that the gratuity must be shown to be motivated by

            a  specifically identified official  act.  As  noted supra, a
                                                                 _____

            gratuity  offense is  essentially a  bribery  offense without

            proof of  "corrupt intent."  The concern  behind the gratuity

            statute,  like   the  bribery   statute,  is   the  potential

            undermining  of  official integrity.    A  gratuity does  not

            compromise this  integrity because of its  possible effect on

            the  official's  "position"; rather,  the  danger  is in  its

            ability to affect the official's performance of duties, i.e.,
                                                                    ____

            "official  acts."    It is  not  surprising,  then, that  the




                                
            ____________________

            22.  For example, if the parent of a student gives the school
            principal  a  gift  of  substantial value  at  the  student's
            graduation,  that  alone  would  not  constitute  a  gratuity
            offense, even though the parent would not have given the gift
            "but for" the  principal's position.   If, however, the  gift
            was given under circumstances in which the principal  had the
            discretion  to  decide  whether  or  not  the  student  would
            graduate, a gratuity offense might be found.

                                         -49-
                                          49















            statute  proscribes gratuities  motivated by  "official acts"

            rather than "official position."

                      Thus, the use of the term "official act" appears to

            ensure that  the gratuity would be deemed  unlawful only when

            the giving of an item of "substantial value" is linked to the

            official's performance of duties.  The connection between the

            gratuity  and the  performance of  official duties,  however,

            does not necessarily require the identification of a specific

            official act, and we  find nothing in the statutory  language

            to require such a demonstration.

                      2.  Legislative History
                      _______________________

                      The  gratuity statute  was based,  in part,  upon a

            bill drafted  by a  1962 Massachusetts Special  Commission on

            Code of Ethics.  See Report of the Special Commission on Code
                             ___

            of Ethics, 1962  House Doc. No.  3650, p.8.   Nothing in  the

            Commission's Report,  however,  assists us  in resolving  the

            instant question.  It  states only: "It should be  noted that

            to  constitute a criminal act, the giving or receiving of the

            item  of such `substantial value' must be `for or because of'

            an official act."  Id. at 11; see Commonwealth v. Famigletti,
                               ___        ___ ____________    __________

            354  N.E.2d  890, 893  (Mass.  Ct.  App. 1976)  (noting  same

            language  in the report).  The Report neither parses out what

            these terms  mean, nor gives  examples of what  was intended.

            From  this we discern only that  the Commission was concerned





                                         -50-
                                          50















            that "innocent" gifts to officials would  not fall within the

            gratuity statute's purview.

                      The Commission's  report does tell  us that "[m]uch

            of the  language of  the  proposed legislation  is taken  and

            adapted from  [a  proposed federal  bribery/gratuity  bill]."

            Report of  Special Commission, supra  at 8;  see Dutney,  348
                                           _____         ___ ______

            N.E.2d  at  822 n.16.    As  discussed  below,  however,  the

            comparable federal gratuity  statute, 18 U.S.C.   201(c),  is

            also unhelpful in resolving the question before us.

                      3.  Comparable Statutes
                      _______________________

                      In support of  its position, the  government relies

            on the Massachusetts  Supreme Judicial Court's interpretation

            of a  different statute in Commonwealth v.  Lapham, 156 Mass.
                                       ____________     ______

            480,  31  N.E.  638  (Mass.   1892),  and  on  federal  cases

            interpreting   the  federal   gratuity  statute,   18  U.S.C.

              201(c).

                      Lapham  involved a  milk  dealer who  attempted  to
                      ______

            bribe a city milk inspector and was convicted under a statute

            punishing anyone who:

                      corruptly  gives,  offers or  promises to
                      any  executive,  legislative  .  .  .  or
                      judicial  officer   .  .  .any   gift  or
                      gratuity   whatever,   with   intent   to
                      influence   his   act,   vote,   opinion,
                      decision,  or  judgment  on  any  matter,
                      question, cause, or proceeding, which may
                      be then pending, or may by law come or be
                      brought  before  him   in  his   official
                      capacity.




                                         -51-
                                          51















            Mass.  Pub. St. ch. 205,   9  (Ch. 349 Revised May 21, 1891);

            see Lapham, 31 N.E. at  638-39.  The milk dealer  argued that
            ___ ______

            the indictment  was insufficient  because it  did not  aver a

            particular  matter  to  be  influenced.    Id.    The Supreme
                                                       ___

            Judicial Court disagreed, reasoning as follows:

                      Nor  is  it  necessary in  an  indictment
                      under  [ch. 205,    9]  to aver  that the
                      corrupt intention to  influence the  act,
                      opinion,  decision  or  judgment  of  the
                      inspector was in relation to any specific
                      and particular matter then pending before
                      him,  or which was  then expected to come
                      before  him.   It  is  enough  to aver  a
                      corrupt  intention so to influence him in
                      any matter which may  then be pending, or
                      which may  by  law  come  or  be  brought
                      before him.  If for example an executive,
                      legislative or judicial officer is bribed
                      corruptly to favor a particular person in
                      any and all matters affecting that person
                      which  may  come  before   such  officer,
                      without specification or knowledge of the
                      particular matters likely to come up, the
                      statute is broad enough to include such a
                      case.    A  narrower  construction  of  a
                      similar  statute  has  been   adopted  in
                      Alabama,   but   we  cannot   follow  it.
                      Barefield v. State, 14 Ala. 603 [1848].
                      _________    _____

            Id. at 639.
            ___

                      The  difficulty with  the government's  reliance on

            Lapham is, of course, the fact that it involved a differently
            ______

            worded statute.  The Lapham statute proscribes a corrupt gift
                                 ______

            to  influence an official act "on any  matter . . . which may
                                                                      ___

            be then pending or may  by law come or be brought  before him
                               ___

            in his  official capacity."  Mass. Pub. St. ch. 205,   9 (Ch.

            349  Revised May 21, 1891) (emphasis added).  In holding that



                                         -52-
                                          52















            an  averment  of a  specific  matter was  not  necessary, the

            Lapham  court repeatedly used the word "may."  See, e.g., id.
            ______                                         ___  ____  ___

            ("It  is enough to aver  a corrupt intention  so to influence

            him in any matter which may then be pending, or  which may by
                                    ___                            ___

            law come or be brought before him.") (emphasis added).

                      The  question is  whether the  absence of  the word

            "may"  in the present gratuity statute, see Mass. Gen. L. ch.
                                                    ___

            268A,    3,  1(h) &amp; (k), signifies,  by negative implication,

            the requirement of a specific official act.  The reasoning in

            Lapham does  seem to  indicate some relationship  between the
            ______

            word  "may" and the absence of a specificity requirement.  We

            think, however, that it  does not follow that the  word "may"

            is  the  only manner  in  which to  indicate  that particular

            official  acts need  not  be shown  to  establish a  gratuity

            offense.

                      The  present  statute  proscribes  a  gift "for  or

            because   of   any   official   act  performed   or   to   be
                           ___

            performed,"23  and  further defines  "official  act" as  "any
                                                                      ___

                                
            ____________________

            23.  The  phrase  "performed  or  to  be  performed"  affords
            temporal flexibility  between the gratuity and any motivating
            official  act.   Mass. Gen.  L. ch  268A   3(a);  Dutney, 348
                                                              ______
            N.E.2d at  821  n.14.   This  temporal  flexibility  is  also
            present  in the Lapham statute ("may then be pending or which
                            ______
            may by  law come  or be brought  before him"),  ch. 205,    9
            (1891),  as well as the federal gratuity statute ("may at any
            time be pending, or  which may by law  be brought before  [an
            official]")  noted infra.   18  U.S.C.   201(a)(3).   In  our
                               _____
            view, and contrary to the district  court, while the language
            affording temporal flexibility is consistent with the absence
            of  an  official-act  specificity  requirement,  it  does not
            compel that result.  See Sawyer, 878 F. Supp. at 287.
                                 ___ ______

                                         -53-
                                          53















            decision or action in a particular matter or in the enactment

            of legislation."    Mass. Gen.  L.  ch. 268A,     3(a),  1(h)

            (emphasis  added).  Use of the broad term "any" is consistent

            with  a legislative  intent to  proscribe gifts  motivated by

            unidentified  official  acts.   Most  importantly,  given the

            reasoning  set  forth  in  Lapham,  we  think  that   if  the
                                       ______

            Massachusetts  Legislature had  wanted to  drastically narrow

            the scope  of the gratuity offense  by requiring specifically

            identified official  acts, it would have  spoken more clearly

            than  it has.    In the  end,  the Lapham  case  supports the
                                               ______

            conclusion that a gratuity offense may be established without

            proof that a specific official act was the motivation for the

            gratuity.

                      The  government also  relies on  cases interpreting

            the  similarly  worded federal  gratuity  statute,  18 U.S.C.

              201(c),24  that  indicate  that  a  conviction  under  that


                                
            ____________________

            24.  The   federal  gratuity  statute,  18  U.S.C.    201(c),
            provides, in pertinent part:

                      Whoever  -- [] otherwise than as provided
                      by  law  for   the  proper  discharge  of
                      official   duty   --   []   directly   or
                      indirectly  gives,  offers,  or  promises
                      anything of value  to any public official
                      . . . for or because of  any official act
                      performed  or to  be  performed  by  such
                      public   official   .   .  .   shall   be
                      [punished].

                      The term  "official act"  is further defined  in 18
            U.S.C.   201 (a)(3) as:


                                         -54-
                                          54















            statute  does  not require  a showing  that the  gratuity was

            linked  to a specific official act.  See, e.g., United States
                                                 ___  ____  _____________

            v. Bustamante, 45 F.3d 933, 940 (5th Cir.) ("it is sufficient
               __________

            for the government to  show that the defendant was  given the

            gratuity  simply  because  he  held  public  office"),  cert.
                                                                    _____

            denied, 116 S. Ct. 473 (1995); United States v. Niederberger,
            ______                         _____________    ____________

            580  F.2d 63,  68-69 (3d  Cir.), cert.  denied, 439  U.S. 980
                                             _____  ______

            (1978); United States v. Standefer,  610 F.2d 1076, 1080  (3d
                    _____________    _________

            Cir. 1979) (en  banc), aff'd  on other grounds,  447 U.S.  10
                                   _______________________

            (1980).    The government  reasons that  because much  of the

            Massachusetts  gratuity statute's language was based upon the

            federal statute, see  Dutney, 348  N.E. 2d at  822 n.16,  and
                             ___  ______

            because some  federal cases hold that specific  acts need not

            be shown,  a similar interpretation  of the state  law should

            obtain.

                         Reliance  on those cases, however, is undermined

            by  the fact that  the First  Circuit has  expressly reserved

            ruling  on   the  question  of  whether  or  not  a  gratuity

            prosecution  under the  federal statute  requires proof  of a

            "causal  relation  to  any  `specific,   identifiable  act.'"


                                
            ____________________

                      any  decision or action  on any question,
                      matter,   cause,   suit,  proceeding   or
                      controversy,  which may  at  any time  be
                      pending, or which may  by law be  brought
                      before  any  public  official,   in  such
                      official's official capacity, or  in such
                      official's place of trust or profit.


                                         -55-
                                          55















            United States v. Previte, 648 F.2d 73, 82 n.8 (1st Cir. 1981)
            _____________    _______

            (quoting  Niederberger, 580 F.2d  at 68-69).   Sawyer, on the
                      ____________

            other  hand,  cites  no  federal  gratuity  cases  (or  state

            gratuity  cases,  for  that  matter)  squarely  holding  that

            specific  acts must be shown; although, he does cite cases in
                           ____

            which  specific official  acts were  shown, see  e.g., United
                                           ____         ___  ____  ______

            States v. Biaggi, 853  F.2d 89, 99-100 (2d Cir.  1988), cert.
            ______    ______                                        _____

            denied, 489 U.S. 1052 (1989); United States  v. Brewster, 506
            ______                        _____________     ________

            F.2d  62, 77-78 (D.C.  Cir. 1974)).   This is  not the proper

            case for us to  decide the federal issue.   Thus, we conclude

            that it would be inappropriate to take any guidance here from

            cases interpreting the federal gratuity statute. 

                      4.  State Ethics Commission Pronouncements
                      __________________________________________

                      The  Massachusetts State  Ethics Commission  is the

            primary  civil  enforcement  agency  for  violations  of  the

            gratuity  statute.   Mass.  Gen. L.  ch.  268B,   3(i).   The

            Ethics  Commission  has the  power  and  duty to  investigate

            alleged gratuity offenses, initiate  appropriate adjudicatory

            proceedings, and order civil penalties if it concludes that a

            violation has occurred.  Id.    4.  Upon the petition of  any
                                     ___

            party,  a final action of the Ethics Commission is subject to

            review  by  the  Massachusetts  superior   court,  which  may

            enforce, modify or set aside the order.  Id.   4(k).
                                                     ___

                      The  Ethics  Commission has  repeatedly interpreted

            the  gratuity statute as forbidding gifts motivated generally



                                         -56-
                                          56















            by the official's authority  to act favorably for  the donor.

            See In  Re  Charles F.  Flaherty,  1990 SEC  59  (Disposition
            ___ ____________________________

            Agreement)  ("`All that  is required  to bring  [the gratuity

            statute]  into play is a nexus between the motivation for the

            gift and the employee's public duties'" (quoting In Re George
                                                             ____________

            A.  Michael, 1981 SEC 59, 68)); SEC Commission Advisory No. 8
            ___________

            "Free Passes"  (May  14,  1985) (noting  that  "even  in  the

            absence of any specifically  identifiable matter that was, is

            or soon  will be pending  before the official,  [the gratuity

            statute] may  apply" (citing United States  v. Standefer, 452
                                         _____________     _________

            F. Supp. 1178, 1183 (W.D. Pa. 1978)).

                      We give the Ethics Commission's interpretation some

            deference.   See Olszewski v.  Berube, 3 Mass.  L. Rptr. 297,
                         ___ _________     ______

            1995 WL 808889 (Mass.  Super. No. 922666) (Jan. 27,  1995) at

            *2 (stating that  although the Ethics Commission's  "decision

            on matters within its competence is to be given great weight,

            the courts are the  final interpreter" (citing Finkelstein v.
                                                           ___________

            Board  of  Reg.  in Optometry,  349  N.E.2d  346,  348 (Mass.
            _____________________________

            1976)).  That deference, however, is tempered not only by the

            fact that  no Massachusetts  court has passed  on the  Ethics

            Commission's  interpretation,  but  also because  this  is  a

            criminal case and the Ethics Commission is charged only  with

            civil enforcement.   The Commission may very  well have valid

            reasons for adopting a broad, prophylactic interpretation  of

            the   statute  in   its  civil  dispositions   of  individual



                                         -57-
                                          57















            transgressions; its interpretation is easier to prove and the

            offender  is more likely to settle with the Commission if she

            does not have to admit to more egregious wrongdoing.

                      Nonetheless, we note  that the Ethics  Commission's

            interpretation  of  the  gratuity   statute  has  been   left

            undisturbed  by   the  Massachusetts  Legislature,   and  its

            interpretation   is   not    "arbitrary,   unreasonable    or

            inconsistent" with  the statute.  Finkelstein,  349 N.E.2d at
                                              ___________

            348.   Thus,  the Ethics  Commission's opinion on  the matter

            further supports the conclusion  that a specific official act

            need not be identified in a gratuity offense.

                      5.  Conclusion: Jury Instructions
                      _________________________________

                      The absence  of a  Massachusetts court  decision on

            this  issue  is troubling.    We  have carefully  considered,

            however,  all  of the  authority  and  arguments on  Sawyer's

            behalf,  and none of them is availing.   We also take note of

            the  fact that Sawyer does  not cite a  single gratuity case,

            either  federal or  state (and  we have found  none), holding

            that a specific official  act must be linked to  the unlawful

            gratuity.  Thus, we  conclude that the Massachusetts gratuity

            statute does  not require  proof that  the offender  gave the

            item  of  "substantial  value"  because   of  a  specifically

            identified official  act.   Of course, the  identification of

            certain official acts in relation to the gratuity  might make





                                         -58-
                                          58















            a  gratuity offense easier to prove, and we suspect that most

            cases will include such proof although it is unnecessary.

            B.  Sufficiency of the Evidence
            _______________________________

                      In  cases such  as this one,  it becomes  clear why

            particular  official acts need not be shown.  The evidence at

            trial showed that Sawyer  gave items (that could be  found to

            be of  "substantial value") to Massachusetts  legislators who

            had the ability to take official action favorable to Hancock,

            and that those gifts effectively ceased after the legislators

            left  office.  While the government did not detail all of the

            legislators'   acts  that  were  favorable  to  Hancock,  the

            government  did show  that  Sawyer had  a long-term,  ongoing

            interest in the official acts of the legislators, and that he

            knew his gratuities  were unlawful.  From  this evidence, the

            jury  could  rationally   infer  that  the  gratuities   were

            motivated by the legislators' performance of official duties,

            i.e.,  that they were given  "for or because  of any official
            ____

            act,"  within  the  meaning  of  the  Massachusetts  gratuity

            statute, Mass. Gen. L. ch. 268A,   3.

            C.  Evidentiary Issues
            ______________________

                      1.  Exclusion of Skrine Memorandum
                      __________________________________

                      Sawyer  contends that  the court  unduly restricted

            the  presentation of evidence  that he  entertained lawmakers

            solely out  of friendship and  goodwill and he  believed that





                                         -59-
                                          59















            this did  not violate the gratuity  statute.25  Specifically,

            he  appeals the court's  exclusion of a  document, written by

            Bruce  Skrine, memorializing  Skrine's interview  with Sawyer

            after the  Boston Globe's inquiry into the  Puerto Rico trip.

            That  document   reflects   Sawyer's  assertion   that   such

            entertainment, while  perhaps excessive in Puerto  Rico, "was

            commonly done and that, [the] legislators were all friends of

            his  and  that  they  were  not  in anyway  [sic]  discussing

            legislation or lobbying."

                      At  trial, Sawyer  did  not attempt  to offer  this

            document  to  prove his  state of  mind  with respect  to his

            expenditures.   In fact, he  indicated to the  court that its

            admission was  not necessary because he  had already elicited

            the  desired  testimony  from  Skrine.   Later  on,  however,

            pointing out  that  the  document  did not  mention  that  he

            entertained  to "gain access"  to legislators, Sawyer offered

            it to impeach Skrine.  The court did not permit its admission

            on  that basis,  but  it did  allow  Sawyer to  cross-examine

            Skrine on that very  issue.  Because Sawyer did not offer the

            document for the  purpose he  now asserts on  appeal, he  has


                                
            ____________________

            25.  Sawyer  also  raises  arguments  as to  his  good  faith
            conduct vis  a vis the gift statute, which is not relevant to
                    ___  _ ___
            the Travel Act counts.  Such contentions would be relevant to
            the mail and  wire fraud counts, which we have  reversed.  We
            leave  the good  faith  issues surrounding  the gift  statute
            (which are  dependent on the  evidence adduced at  trial) for
            the  district   court  to  resolve  on   remand,  should  the
            government choose to retry those counts.

                                         -60-
                                          60















            forfeited  this claim.  See United States v. Whiting, 28 F.3d
                                    ___ _____________    _______

            1296,  1302 (1st  Cir.) (explaining  that evidence  must have

            been offered for  the purpose asserted on  appeal to preserve

            issue) (citing Tate v. Robbins &amp; Myers, Inc., 790 F.2d 10, 12
                           ____    _____________________

            (1st Cir. 1986)), cert. denied, 115 S. Ct. 378, 498, 499, 532
                              _____ ______

            (1994).  But because the issue may  again arise on remand, we

            further  hold  that because  Sawyer  was able  to  obtain the

            desired  testimony on the issue he now asserts, we would find

            no abuse of discretion  in its exclusion.  See  United States
                                                       ___  _____________

            v.  Newman, 49 F.3d 1, 5-6 (1st Cir. 1995) (reviewing court's
                ______

            exclusion of evidence for abuse of discretion).26

                      2.  Admission of Computer Summaries
                      ___________________________________

                      Sawyer  assigns  reversible error  to  the district

            court's  admission of five charts, Exhibits 1, 1Q, 1R, 1S and

            1T,  proffered by the government.  Exhibit 1 was a forty-nine

            page   computer   printout   summarizing  612   expenditures,

            occurring  between January 1,  1986 and March  31, 1993, that

            were  recorded  in  Sawyer's appointment  calendars,  expense

            records and other admitted documents.  Exhibits 1Q, 1R and 1S

                                
            ____________________

            26.  Sawyer also argues that the court erroneously refused to
            instruct  the  jury on  his  defense-theory that  it  was his
            belief  that   if  expenditures  were   permitted  under  the
            lobbying-disclosure obligations  set forth  in Mass.  Gen. L.
            ch.  3,  then those  expenditures  (although they  had  to be
            disclosed)  were  also allowed  under  the  gratuity statute.
            Upon review of the  record, we agree with the  district court
            that this instruction was  unwarranted because Sawyer did not
            present any  evidence that, during the  indictment period, he
            actually believed that his expenditures were permitted by the
            lobbying-disclosure laws.

                                         -61-
                                          61















            are extracts of Exhibit  1 that isolate the  expenditures for

            Representatives Woodward,  Howarth  and Emilio.   Exhibit  1T

            contrasts  the amount  spent  on those  three Representatives

            while they were  members of the  Legislature with the  amount

            spent on them after  they left that office.   Sawyer contends

            that these charts were admitted on an insufficient foundation

            and that they were misleading, argumentative and prejudicial.

                      Federal   Rule  of   Evidence  1006   provides,  in

            pertinent part:

                      The contents of voluminous writings . . .
                      which cannot conveniently be  examined in
                      court may  be presented in the  form of a
                      chart,  summary,  or  calculation.    The
                      originals  or  duplicates  shall be  made
                      available for examination or  copying, or
                      both, by [the other party].

            Before  admitting such  evidentiary presentations,  the court

            must first  ensure that each  is grounded upon  a "sufficient

            factual basis," i.e., upon independently established evidence
                            ____

            in the record, and that "possible prejudice or confusion does

            not  outweigh their  usefulness in clarifying  the evidence."

            United  States v.  Drougas, 748  F.2d 8,  25 (1st  Cir. 1984)
            ______________     _______

            (citing J. Weinstein &amp; M. Berger, Weinstein's Evidence   1006
                                              ____________________

            (1983)); see  United States  v. Nivica,  887 F.2d  1110, 1125
                     ___  _____________     ______

            (1st Cir.  1989), cert. denied, 494 U.S.  1005 (1990); United
                              _____ ______                         ______

            States  v. Sorrentino,  726 F.2d  876, 884  (1st Cir.  1984).
            ______     __________

            When a court admits such summaries,

                      [c]are  must  be  taken  to  insure  that
                      summaries accurately reflect the contents


                                         -62-
                                          62















                      of  the underlying  documents and  do not
                      function  as   pedagogical  devices  that
                      unfairly    emphasize    part   of    the
                      proponent's    proof   or    create   the
                      impression that disputed facts  have been
                      conclusively    established    or    that
                      inferences have been directly proved.

            Drougas, 748  F.2d at 25 (citing  Weinstein's Evidence, supra
            _______                           ____________________  _____

              1006).  We review  the admission of summaries  for abuse of

            discretion.  Nivica, 887 F.2d at 1126. 
                         ______

                      Sawyer contends that the district  court improperly

            admitted the summaries because  they did not include evidence

            of his expenditures on legislators before  and after the time

            period  covered  in the  summaries,  or  his expenditures  of

            personal funds.   He argues  that this was  unduly misleading

            because  it created a "false  impression" as to  the date the

            alleged  conspiracy  began,  and  falsely  implied  that  the

            expenditures ended after the three named representatives left

            office.  We disagree.

                      The  summaries  were  based  on  evidence  that was

            already independently  admitted  and  that  was  relevant  to

            Sawyer's  questionable  expenditures  during  the  indictment

            period.  Sawyer had the opportunity, on cross-examination, to

            place  the  summaries in  context  with  his total  financial

            activity.   See Nivica,  887  F.2d at  1125 (concluding  that
                        ___ ______

            argument that summaries failed to, inter alia, reflect "total
                                               _____ ____

            financial  activity"   "affect[s]  weight  rather   than  the

            admissibility").   On  the  matters to  which Sawyer  assigns



                                         -63-
                                          63















            undue prejudice, he had ample opportunity  to explore them on

            cross-examination,  which he did.  He also could have offered

            his own  contrary evidence, including his  own summary (which

            he did not do).  As we stated in Nivica, 887 F.2d at 1126:
                                             ______

                      So long as the government, exercising due
                      diligence, collects  whatever records are
                      reasonably  available   and  succeeds  in
                      introducing  them,  it  may be  permitted
                      (subject,  of  course,  to relevancy  and
                      perscrutation under Fed. R. Evid. 403) to
                      summarize  the  data  it  has  managed to
                      obtain.       If   defendants   possessed
                      exculpatory    records    not   in    the
                      government's   files,  they   could  have
                      offered them at  trial or prepared  their
                      own summary.  By the same token, if there
                      were gaps in the  charts, the defense . .
                      .  had every opportunity to exploit them.
                      In the last analysis, completeness of the
                      underlying records was for the jury.

            We  conclude that  the summaries  were based on  a sufficient

            foundation and that the court did not abuse its discretion in

            admitting them.

            D.  Protective Instruction
            __________________________

                      Having rejected all of Sawyer's arguments, we think

            there  is one  flaw in the  proceedings that does  have to be

            addressed in the interests of justice and especially in light

            of  the possibility of future prosecutions of this kind.  Our

            concern arises from  the close relationship  between lobbying

            activities  that are  lawful from  the standpoint  of federal

            law,  even if  deplorable,  and associated  or slightly  more

            extreme versions of such  conduct that can constitute federal

            violations.   The problem  is, in  some respects,  novel; the


                                         -64-
                                          64















            reason for its novelty  is that it appears  that prosecutions

            on facts like these have not generally been brought.

                      A review  of pre-McNally theft  of honest  services
                                       _______

            cases and of bribery and gratuity cases under the counterpart

            federal  statute,  18 U.S.C.    201,  indicates,  as we  have

            already noted, that  most involved straightforward corruption

            --  most often, quid pro  quo bribery or  blatant conflict of
                            ____ ___  ___

            interest.   While  the issue  in  those cases  was  typically

            whether or not the conduct actually occurred, in most of them

            the  alleged  conduct was  blatantly illegal.   This  case is

            distinct   in  that  the  conduct  itself  may  not  be  very

            different,  except  possibly  in  degree, from  the  kind  of

            routine cultivation of friendship in a lobbying context that,

            while arguably very unattractive, is not "bribery" within the

            meaning of the Travel Act.

                      The practice of using hospitality, including lavish

            hospitality, to cultivate business or political relationships

            is  longstanding  and pervasive.    The  government does  not

            argue,   and   we  do   not   believe,   that  payments   for

            entertainment,  lodging, golf,  sports events,  and the  like

            would constitute  violations of the  Travel Act (or  the mail

            and  wire fraud  statutes) if  the aim  of the  lobbyist were

            simply to cultivate a business or political "friendship" with

            the legislator.   It may  well be that  all such  hospitality

            should  be flatly prohibited by  law, but if  Sawyer had this



                                         -65-
                                          65















            limited  intent --  to  cultivate friendship  rather than  to

            influence an  official  act   --  the federal  statutes  here

            involved would not be violated.27

                      The charge to  the jury in  this case followed  the

            conventional  formula  for  prosecutions involving  political

            corruption.   But  where  the difference  between lawful  and

            unlawful turns primarily on intent, and the lawful conduct is

            itself  most unattractive, we think the jury needs to be told

            specifically that the defendant  has not violated the bribery

            component  of the  Travel Act  (or committed  honest services

            fraud)  if  his intent  was  limited  to  the cultivation  of

            business  or political  friendship.   Only if  instead or  in

            addition,  there is an intent to cause the recipient to alter

            her  official  acts  may the  jury  find  a  theft of  honest

            services  or the bribery predicate of the Travel Act.  Absent

            some explicit  explanation  of this  kind,  the  conventional

            charge will be slanted in favor of conviction.28

                                
            ____________________

            27.  See, e.g.,  United States v.  Arthur, 544 F.2d  730 (4th
                 ___  ____   _____________     ______
            Cir. 1976); United States v. Brewster, 506 F.2d 62 (D.C. Cir.
                        _____________    ________
            1974); cf. Dukehart-Hughes Tractor  &amp; Equipment co. v. United
                   ___ ________________________________________    ______
            States, 341 F.2d 613 (Ct. Cl. 1965).
            ______

            28.  It  is not  clear whether  the government  would contend
            that  a gratuity  violation involving  only a  reward for  an
            official act (even without any intent to influence any future
            official act) could constitute  "bribery" for purposes of the
            Travel  Act.   We are  extremely doubtful whether  this would
            constitute bribery  for these  purposes and  do not  read the
            Second  Circuit as ruling on  this point in  United States v.
                                                         _____________
            Biaggi, 853 F.2d 89, 100-02 (2d Cir. 1988), cert. denied, 489
            ______                                      _____ ______
            U.S. 1052  (1989).    The  fact  that  a  gratuity  violation
            involving an intent to  influence is essentially bribery, see
                                                                      ___

                                         -66-
                                          66















                      In reaching this conclusion, we intend no criticism

            of the able  district judge  who was coping  with a  somewhat

            novel foray by the government.   But where, as here, the line

            between the merely unattractive and actually criminal conduct

            is  blurred,  the  court  must  take  pains  to  explain  the

            difference  to the jury.   The Second Circuit  took this same

            view  in a closely related  context, saying: "When an elected

            official who has  received campaign contributions is  charged

            with  extortion and  with receiving  bribes, the  charge must

            carefully  focus  the  jury's  attention  on  the  difference

            between   lawful   political   contributions   and   unlawful

            extortionate payments and bribes."   United States v. Biaggi,
                                                 _____________    ______

            909 F.2d 662, 695-96  (2d Cir. 1990), cert. denied,  499 U.S.
                                                  _____ ______

            904 (1991).

                      Having concluded that the jury charge was mistaken,

            we must consider whether Sawyer should get the benefit of the

            error.   This is a  close call.  On the  one hand, Sawyer did

            not  explicitly  ask  for  the  sort  of  language  we  think

            appropriate.   Ordinarily,  the failure  to make  an explicit

            objection requires  the defendant to satisfy  the plain error

            test of United States v. Olano, 113 S. Ct. 1770, 1777 (1993).
                    _____________    _____

            On  the  other hand,  a  number of  Sawyer's  objections were

                                
            ____________________

            853  F.2d  at   101,  does  not  mean   that  every  possible
            application  of a gratuity statute  fits the rubric.   In all
            events, if the government  intends to rely upon an  intent to
            influence   theory,  our  protective   instruction  would  be
            required here.

                                         -67-
                                          67















            closely related in that they sought in several different ways

            -- which we do not  accept -- to protect one engaged  in good

            faith lobbying from prosecution.

                      On balance, we think that the Travel Act counts, as

            well  as the  mail and  wire fraud  convictions, ought  to be

            reversed and retried under proper instructions.  Although the

            evidence here would be adequate to infer improper intent, the

            issue  is close  and  an explanatory  instruction could  well

            affect  the outcome.  Also, the fact that the prosecution was

            novel makes us  look more tolerantly  on Sawyer's failure  to

            articulate  precisely the  shape of the  necessary protective

            instruction.

                      Apart from  the expense of retrial,  the government

            has very  little to complain about  in this result.   We have

            agreed  that  the  Massachusetts  gratuity statute  does  not

            require the  government to  link the  gratuity to a  specific

            official act.  We  have also found that the evidence  here is

            sufficient to  convict (although  we  can imagine  reasonable

            people  thinking  otherwise).    And while  we  are  somewhat

            concerned about  the lack  of fair warning  of a  prosecution

            such  as this one, we  see no legal  basis for precluding the

            government from embarking  on what is  in practical terms  an

            expansive  reading of  the  federal statutes.   Against  this

            backdrop, we think it even more important that Sawyer get the

            benefit of the few protections that remain.



                                         -68-
                                          68















                                         IV.
                                         IV.
                                         ___

                                   Conspiracy Count
                                   Conspiracy Count
                                   ________________

                      Sawyer was  also convicted, under  18 U.S.C.   371,

            of one count of conspiracy to commit mail and wire fraud, and

            to violate the  Travel Act.   The court  instructed the  jury

            that it could find  Sawyer guilty of conspiracy if  it found,

            beyond  a  reasonable  doubt,  that  he  conspired  with  his

            supervisor, Hathaway, to commit any one of the three objects,

            i.e., the  substantive offenses as  charged.  Because  all of
            ____

            the  objects  --  mail and  wire  fraud  and  the Travel  Act

            violations  -- were  erroneously charged and  instructed, the

            conspiracy convictions must be reversed as well.

                      Retrial  is  not  precluded   if  the  evidence  is

            sufficient to  prove the existence of  a conspiracy, Sawyer's

            knowledge of and voluntary participation in it, and  an overt

            act in furtherance of it.   See United States v. Yefsky,  994
                                        ___ _____________    ______

            F.2d 885, 890 (1st Cir.  1993); see generally, United  States
                                            ___ _________  ______________

            v.  Frankhauser, 80  F.3d 641,  653   (1st  Cir. 1996).   The
                ___________

            agreement  need  not  be  explicit; a  tacit  agreement  will

            suffice.   Direct Sales Co.  v. United States,  319 U.S. 703,
                       ________________     _____________

            712-13 (1943).  To establish Sawyer's voluntary participation

            in  the  conspiracy, the  evidence  must  establish both  his

            intent  to agree and his  intent to effectuate  the object of

            the conspiracy.   Yefsky, 994  F.2d at 890;  see also  United
                              ______                     ___ ____  ______

            States  v. Piper,  35 F.3d  611, 615  (1st Cir.  1994), cert.
            ______     _____                                        _____



                                         -69-
                                          69















            denied,  115 S. Ct. 1118  (1995).  Neither  the agreement nor
            ______

            Sawyer's  participation  in it  need  be  proven with  direct

            evidence.   Glasser v. United States, 315 U.S. 60, 80 (1942);
                        _______    _____________

            see Frankhauser, 80 F.3d at 653.
            ___ ___________

                        Sawyer   contends   that    the   evidence    was

            insufficient  to prove  that: (1)  he and  Hathaway knowingly

            agreed   to  commit   the   offenses;   (2)  he   voluntarily

            participated  in such an  agreement; and  (3) either  of them

            performed any overt act in furtherance of the conspiracy.  We

            disagree.   The government presented  evidence that  Hathaway

            supervised   Sawyer  in   his  lobbying  activities.     From

            Hathaway's receipt  of many of  the same legal  memoranda and

            Massachusetts Ethics Commission rulings that Sawyer received,

            a  jury could  rationally infer  that Hathaway  (an attorney,

            like Sawyer)  knew and understood the  ethical obligations in

            lobbying.   Some  of these  documents had  both  Sawyer's and

            Hathaway's  names  on  them;  thus, a  jury  could  find that

            Hathaway  and Sawyer  knew of  each other's knowledge  of the

            lobbying   laws.29     Sawyer   turned   to   Hathaway,   his

                                
            ____________________

            29.  For  example, one  trial exhibit  was a  memorandum from
            Sawyer to Hathaway, enclosing  a 1990 State Ethics Commission
            Disposition  Agreement  with  House Majority  Leader  Charles
            Flaherty.   That  agreement concerned  the giving  of Celtics
            basketball game  tickets  to  Representative  Flaherty  by  a
            person with  interests before him, and how that might violate
            the Massachusetts  gratuity statute, Mass. Gen.  L. ch. 268A,
              3.  Sawyer and  Hathaway discussed the Flaherty Disposition
            during a  meeting with Bruce Skrine  (vice president, counsel
            and  secretary  for Hancock)  in  which  Sawyer and  Hathaway
            expressed concern  about compliance with state  ethics law in

                                         -70-
                                          70















            supervisor, for  approval of his expense  vouchers.  Hathaway

            performed  this  responsibility  throughout   the  indictment

            period,  and  in so  doing was  the  only person  (other than

            Sawyer)  to   have  detailed   knowledge   of  the   specific

            legislators, often  members of  the Insurance Committee,  who

            received the gifts and gratuities.

                      Thus, the jury could reasonably infer that Hathaway

            and Sawyer both knew that the expenditures were unlawful, and

            from this, that the reason for the repeated illegal gifts and

            gratuities  to  key  legislators  was  to  secretly influence

            legislative  action.   Given  the  evidence  of the  repeated

            submission and approval of the expense vouchers, a jury could

            rationally  find that  Hathaway and  Sawyer agreed,  at least

            tacitly, to  the pattern of  unlawful conduct.   Finally, the

            jury  could also infer that Sawyer and Hathaway knew that the

            mails and wires would be used to facilitate the entertainment

            and/or reimbursement (e.g., the  mailing of bills related to,
                                  ____

            and   the  making   of  telephone   calls  to   arrange,  the

            entertainment), and that interstate travel in connection with

            the entertainment (e.g., reimbursement of  out-of-state golf)
                               ____

            would or  had  to  occur.   The  overt acts  charged  in  the

            indictment included Sawyer's giving of illegal gratuities and

            Hathaway's  approval and authorization  of reimbursement, and

            the evidence was sufficient to establish those acts.

                                
            ____________________

            planning for the 1993 Boston Marathon brunch.

                                         -71-
                                          71















                      Thus,  despite  the  underlying  legal  error,  the

            evidence  was sufficient to  establish the conspiracy offense

            and  a  new  trial on  this  count  is  allowable should  the

            government so choose.

                                          V.
                                          V.
                                          __

                                      Conclusion
                                      Conclusion
                                      __________

                      Sawyer raises a number of other issues that we have

            reviewed, find  to  be without  merit,  and that  warrant  no

            further discussion.

                      For  the  foregoing  reasons,  we  vacate  the mail
                                                         ______

            fraud, wire fraud, Travel Act and conspiracy convictions, and

            remand for proceedings consistent with this opinion.
            ______





























                                         -72-
                                          72









